Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 1 of 63 PageID #: 24228




                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

   SIGHT SCIENCES, INC.,                     )
                                             )
                 Plaintiff,                  ) Redacted - Public Version
                                             )
      v.                                     ) C.A. No. 21-1317-GBW-SRF
                                             )
   IVANTIS, INC., ALCON RESEARCH LLC,        )
   ALCON VISION, LLC, and ALCON INC.,        )
                                             )
                                             )
                 Defendants.                 )

             ALCON’S ANSWERING BRIEF TO SIGHT’S MOTIONS FOR
           SUMMARY JUDGMENT AND TO EXCLUDE EXPERT TESTIMONY

                                             John W. Shaw (No. 3362)
   OF COUNSEL:                               Karen E. Keller (No. 4489)
   Gregg LoCascio                            Andrew E. Russell (No. 5382)
   Sean McEldowney                           Nathan R. Hoeschen (No. 6232)
   Justin Bova                               SHAW KELLER LLP
   Steven Dirks                              I.M. Pei Building
   Socrates L. Boutsikaris                   1105 North Market Street, 12th Floor
   KIRKLAND & ELLIS LLP                      Wilmington, DE 19801
   1301 Pennsylvania Avenue, N.W.            (302) 298-0700
   Washington, DC 20004                      jshaw@shawkeller.com
   (202) 389-5000                            kkeller@shawkeller.com
                                             arussell@shawkeller.com
   Jeanne M. Heffernan                       nhoeschen@shawkeller.com
   Kat Li                                    Attorneys for Defendants
   Ryan J. Melde
   KIRKLAND & ELLIS LLP
   401 Congress Avenue
   Austin, TX 78701
   (512) 678-9100

   Ryan Kane
   Nathaniel DeLucia
   Emily Sheffield
   KIRKLAND & ELLIS LLP
   601 Lexington Avenue
   New York, NY 10022
   (212) 446-4800
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 2 of 63 PageID #: 24229




   Brian A. Verbus
   Jacob Rambeau
   KIRKLAND & ELLIS LLP
   300 N. LaSalle
   Chicago, IL 60654
   (312) 862-2000

   Noah Frank
   KIRKLAND & ELLIS LLP
   200 Clarendon Street
   Boston, MA 02116
   (617) 385-7500

   Dated: November 2, 2023
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 3 of 63 PageID #: 24230




                                                  TABLE OF CONTENTS

   I.     Nature and Stage of Proceedings ........................................................................................ 1

   II.    Summary of the Argument.................................................................................................. 1

   III.   Sight’s Motions 1 and 2 Should Be Denied Because “Partial Summary Judgment”
          on Incomplete and Isolated Claim Terms Is Improper, Confusing, and Prejudicial,
          and Genuine Issues of Material Fact Exist for Those Terms .............................................. 2

          A.        Sight’s Motion 1 Should Be Denied Because It Seeks Summary Judgment
                    of Infringement for Non-limitations, for Method Claims for Which It Cites
                    No Evidence of Infringement, for Terms That Render the Claims
                    Indefinite, and For Terms About Which Genuine Disputes of Material
                    Fact Exist. ............................................................................................................... 5

                    1.         Hydrus cannot “meet” non-limiting preamble terms. ................................. 5

                    2.         Sight cites no evidence that Hydrus “meets” the “introducer” terms
                               in the method claims. .................................................................................. 6

                    3.         Sight generically alleges Hydrus “meets” the “support” limitations,
                               but provides no specifics regarding what feature of Hydrus “props”
                               open Schlemm’s canal. ............................................................................... 7

                    4.         Hydrus cannot “meet” the indefinite “30% of C” limitation. ..................... 8

                    5.         The remaining terms Sight alleges are “met” are standalone terms
                               for which summary judgment is improper. ............................................... 10

          B.        Sight’s Motion 2 For Partial Summary Judgment of Infringement That the
                    “Maintain The Patency” And “Block” Limitations Are “Met” Is Premised
                    on Inconsistent Claim Constructions and Should Be Denied. .............................. 11

                    1.         Sight’s inconsistent construction of “Block” and “Patency”
                               Limitations improperly applies a different standard to infringement
                               and invalidity. ........................................................................................... 12

                    2.         Even applying Sight’s new constructions, substantial evidence
                               exists for a jury to find Hydrus does not infringe. .................................... 14

   IV.    Sight’s Motion 3 for Summary Judgment Should Be Denied Because, at a
          Minimum, a Dispute of Material Fact Exists Whether iStent Was Publicly
          Available Prior to June 2006............................................................................................. 15

          A.        Substantial Evidence Demonstrates the iStent Was Distributed Without
                    Confidentiality Restrictions Before June, 26 2006. .............................................. 16



                                                                      i
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 4 of 63 PageID #: 24231




           B.         Sight Fails to Establish No Dispute of Material Fact Exists................................. 18

   V.      Sight’s “Conditional” Motion 4 Should Be Denied.......................................................... 20

   VI.     Dr. Iwach’s Transition-Zone Opinion Is Admissible ....................................................... 20

   VII.    Alcon’s Experts’ 30% Limitation Opinions Are Admissible ........................................... 24

   VIII.   Sight’s Motion to Exclude Opinions on Non-infringing Alternatives Should be
           Denied ............................................................................................................................... 27

           A.         Drs. Becker and Iwach’s Opinions Are Supported by Sufficient Evidence. ........ 27

                      1.         The evidence relied upon by Drs. Iwach and Becker is sufficient
                                 and reliable. ............................................................................................... 28

                      2.         The 22-patient study does not undermine Drs. Iwach and Becker’s
                                 opinions. .................................................................................................... 31

           B.         Considering Design-Arounds Available Prior to Commercial Launch Is
                      Correct Under the Law.......................................................................................... 34

                      1.         The date of first infringement is October 2012 and Ivantis had non-
                                 infringing designs available as of that date. .............................................. 34

                      2.         Non-infringing alternatives affect the calculations for lost profits
                                 and royalty damages. ................................................................................ 35

                      3.         Mr. Meyer’s lost profits analysis properly evaluates non-infringing
                                 alternatives available to Defendants during the period of
                                 infringement. ............................................................................................. 37

                      4.         Mr. Meyer’s reasonable royalty analysis properly evaluates NIAs
                                 available to Defendants to apportion the value of the patented
                                 technology. ................................................................................................ 40

   IX.     Sight’s Motion to Exclude Mr. Kunin’s Opinions Should Be Denied Because His
           Opinions Will Be Helpful to the Trier of Fact and He Is Qualified to Give Them. ......... 46

   X.      Conclusion ........................................................................................................................ 50


   Note: Except where specifically referring to distinct entities, Defendants are collectively referred
   to as “Alcon.” Additionally, all emphasis is added unless otherwise indicated.




                                                                        ii
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 5 of 63 PageID #: 24232




                                                TABLE OF AUTHORITIES

                                                                                                                             Page(s)

   Cases

   8x8 v. United States,
      854 F.3d 1376 (Fed. Cir. 2017)................................................................................................15

   Abbott Biotech. v. Centocor Ortho Biotech,
      2014 WL 7330777 (D. Mass. Dec. 19, 2014) ..........................................................................47

   Adams v. Klein,
      2020 WL 2404772 (D. Del. May 12, 2020) ..................................................................... passim

   Advanced Bionics v. Med-El Elektromedizinische Gerӓte, IPR2019-01469, Paper
      6, 8 (PTAB Feb. 13, 2020) (precedential) ...............................................................................48

   Allen Eng’g v. Bartell Indus.,
       299 F.3d 1336 (Fed. Cir. 2002)..................................................................................................5

   Allscripts Healthcare v. Andor Health,
       2022 WL 3021560 (D. Del. July 29, 2022) .......................................................................21, 30

   Apple v. Motorola,
      757 F.3d 1286 (Fed. Cir. 2014), overruled on other grounds by Williamson v.
      Citrix Online, 792 F.3d 1339 (Fed. Cir. 2015) ............................................................36, 38, 39

   Apple v. Samsung,
      2013 WL 5958172 (N.D. Cal. Nov. 7, 2013) ..........................................................................38

   Aqua Connect v. TeamViewer,
      2023 WL 6387791 (D. Del. Sep. 29, 2023) ...............................................................................5

   AstraZeneca v. Apotex,
       782 F.3d 1324 (Fed. Cir. 2015)....................................................................................40, 43, 44

   AstraZeneca v. Apotex,
       985 F. Supp. 2d 452 (S.D.N.Y. 2013)................................................................................43, 45

   Atl. Thermoplastics Co. v. Faytex,
       970 F.2d 834 (Fed. Cir. 1992)................................................................................................3, 7

   Bd. of Regents Univ. of Tex. v. Boston Sci.,
       2022 WL 17584180 (D. Del. Dec. 12, 2022)...........................................................................46

   Beatrice Foods v. New Eng. Printing & Lithographing,
      899 F.2d 1171 (Fed. Cir. 1990) (en banc) ...............................................................................42


                                                                    iii
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 6 of 63 PageID #: 24233




   bioMerieux v. Hologic,
      2020 WL 327161 (D. Del. Jan. 21, 2020)................................................................................34

   BMS v. Ben Venue Labs.,
     246 F.3d 1368 (Fed. Cir. 2001)..................................................................................................6

   Bruckelmeyer v. Ground Heaters,
      445 F.3d 1374 (Fed. Cir. 2006)................................................................................................19

   Carnegie Mellon Univ. v. Marvell Tech.,
      2012 WL 3686736 (W.D. Pa. Aug. 24, 2012) .........................................................................41

   Catalina Market. Intern. v. Coolsavings.com,
      289 F.3d 801 (Fed. Cir. 2002)................................................................................................5, 6

   Chabot v. Walgreens Boots All.,
      2023 WL 2908827 (M.D. Pa. Mar. 31, 2023)................................................................3, 10, 11

   Cirba v. VMware,
      2023 WL 6799267 (D. Del. Mar. 30, 2023) ............................................................................48

   City of Huntington v. AmerisourceBergen Drug,
       2021 WL 972295 (S.D. W. Va. Mar. 15, 2021) ........................................................................3

   Classen Immunotherapies v. Somaxon Pharms.,
      2013 WL 9947386 (C.D. Cal. Apr. 11, 2013) .........................................................................37

   Commil USA v. Cisco Sys.,
     575 U.S. 632 (2015) ...................................................................................................................9

   CommScope Techs. v. Dali Wireless,
     10 F.4th 1289 (Fed. Cir. 2021) ........................................................................................ passim

   Cross Med. Prods v. Medtronic Sofamor Danek,
      424 F.3d 1293 (Fed. Cir. 2005)..........................................................................................14, 15

   Delano Farms v. Cal. Table Grape Comm’n,
      778 F.3d 1243 (Fed. Cir. 2015)................................................................................................19

   Dey v. Sunovion Pharm.,
      715 F.3d 1351 (Fed. Cir. 2013)................................................................................................19

   Eli Lilly and Co. v. Zenith Goldline Pharma.,
       471 F.3d 1369 (Fed. Cir. 2006)................................................................................................19

   EMC Corp. v. Pure Storage,
     154 F. Supp. 3d 81 (D. Del. 2016) .....................................................................................30, 37



                                                                      iv
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 7 of 63 PageID #: 24234




   Ericsson v. D-Link Sys.,
       773 F.3d 1201 (Fed. Cir. 2014)................................................................................................42

   Exmark v. Briggs & Stratton,
      879 F.3d 1332 (Fed. Cir. 2018)................................................................................................42

   Fujitsu Ltd. v. Netgear,
      620 F.3d 1321 (Fed. Cir. 2010)..................................................................................................7

   Galderma Labs. v. Medinter US,
      2020 WL 871507 (D. Del. Feb. 14, 2020) .........................................................................37, 39

   Garretson v. Clark,
      111 U.S. 120 (1884) .................................................................................................................42

   Godreau-Rivera v. Coloplast,
      598 F. Supp. 3d 196 (D. Del. 2022) .......................................................................21, 23, 31, 33

   Grain Processing v. Am. Maize-Prods., 893 F. Supp. 1386, 1391 (N.D. Ind.
      1995), aff’d in part, vacated in part, 108 F.3d 1392 (Fed. Cir. 1997) .....................................39

   Grain Processing v. Am. Maize-Prods.,
      185 F.3d 1341 (Fed. Cir. 1999)........................................................................................ passim

   Hanson v. Alpine Valley Ski Area,
      718 F.2d 1075 (Fed. Cir. 1983)................................................................................................44

   Hoefling v. U.S. Smokeless Tobacco,
      576 F. Supp. 3d 262 (E.D. Pa. 2021) .......................................................................................30

   Honeywell Int’l, Inc. v. Int’l Trade Comm’n,
      341 F.3d 1332 (Fed. Cir. 2003)..................................................................................................4

   IMS Tech. v. Haas Automation,
      206 F.3d 1422 (Fed. Cir. 2000)..................................................................................................6

   Inline Connection v. AOL Time Warner,
       472 F. Supp. 2d 604 (D. Del. 2007) .........................................................................................30

   Int’l Rectifier Corp. v. IXYS Corp.,
       361 F.3d 1363 (Fed. Cir. 2004)..................................................................................................3

   Integra Lifesci. v. HyperBranch Med. Tech.,
       2018 WL 1785033 (D. Del. Apr. 4, 2018) .........................................................................21, 26

   Janssen Biotech v. Celltrion Healthcare,
      239 F. Supp. 3d 328 (D. Mass. 2017) ......................................................................................39



                                                                       v
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 8 of 63 PageID #: 24235




   John Wyeth & Bro. v. CIGNA,
      119 F.3d 1070 (3d Cir. 1997).................................................................................................6, 7

   Joy Techs. v. Flakt,
      6 F.3d 770 (Fed. Cir. 1993)........................................................................................................7

   Koki Holdings v. Kyocera Senco Indus. Tools,
      2021 WL 1092579 (D. Del. Mar. 22, 2021) ..............................................................................9

   Liquid Dynamics v. Vaughan,
      449 F.3d 1209 (Fed. Cir. 2006)................................................................................................26

   Lough v. Brunswick Corp.,
      86 F.3d 1113 (Fed. Cir. 1996)..................................................................................................19

   Lucent Techs. v. Gateway,
      580 F.3d 1301 (Fed. Cir. 2009)................................................................................................36

   Mars v. Coin Acceptors,
     527 F.3d 1359 (Fed. Cir. 2008)................................................................................................41

   Masimo Corp. v. Philips Elec.,
     62 F. Supp. 3d 368 (D. Del. 2014) ...........................................................................................33

   Medtronic v. Mirowski Fam. Ventures,
     571 U.S. 191 (2014) .................................................................................................................15

   MiiCs & Partners v. Funai Elec.,
      2017 WL 6268072 (D. Del. Dec. 7, 2017).........................................................................25, 26

   Minerva Surgical v. Hologic,
      2021 WL 3048447 (D. Del. July 20, 2021) .............................................................................26

   Minerva Surgical v. Hologic,
      59 F.4th 1371 (Fed. Cir. 2023) ..........................................................................................18, 19

   Netgear v. Ruckus Wireless,
      5 F. Supp. 3d 592 (D. Del. 2013) ...............................................................................................9

   Netscape Commc’ns v. Konrad,
      295 F.3d 1315 (Fed. Cir. 2002)................................................................................................15

   In re NTP, Inc.,
       654 F.3d 1279 (Fed. Cir. 2011)................................................................................................15

   Olaplex v. L’Oreal USA,
      845 F. App’x 943 (Fed. Cir. 2021) ..........................................................................................15



                                                                      vi
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 9 of 63 PageID #: 24236




   Oracle Am. v. Google,
      798 F. Supp. 2d 1111 (N.D. Cal. 2011) ...................................................................................41

   Power Integrations v. Fairchild Semiconductor Int’l,
      904 F.3d 965 (Fed. Cir. 2018)..................................................................................................42

   Pronova Biopharma v. Teva Pharm.,
      549 Fed. App’x 934 (Fed. Cir. 2013).......................................................................................19

   In re Proton-Pump Inhibitor,
       2022 WL 18999830 (D.N.J. July 5, 2022).........................................................................31, 33

   Pugh v. Community Health Systems,
      2023 WL 3361166 (E.D. Pa. May 10, 2023) .....................................................................32, 33

   Quasar Science LLC v. Colt Int’l Clothing, Inc.,
      IPR2023-00611, Paper 10, 14 (PTAB Oct. 10, 2023) .............................................................48

   REGENXBIO v. Sarepta Therapeutics,
     2022 WL 609141 (D. Del. Jan. 4, 2022)............................................................................37, 39

   ResQNet v. Lansa,
      594 F.3d 860 (Fed. Cir. 2010)..................................................................................................42

   RSB Spine v. DePuy Synthes Sales,
      2022 WL 17084156 (D. Del. Nov. 18, 2022) ..........................................................................40

   Ruggiero v. Yamaha Motor,
      2017 WL 1197755 (D.N.J. Mar. 31, 2017) ..............................................................................24

   Salazar v. HTC,
      2018 WL 2033709 (E.D. Tex. Mar. 28, 2018) ........................................................................40

   Sciele Pharma v. Lupin,
       684 F.3d 1253 (Fed. Cir. 2012)..........................................................................................49, 50

   Shure v. ClearOne,
      2021 WL 7209740 (D. Del. Oct. 5, 2021) .........................................................................45, 46

   Sonos v. D & M Holdings,
      297 F. Supp. 3d 501 (D. Del. 2017) .........................................................................................47

   Synchronoss Techs. v. Dropbox,
      987 F.3d 1358 (Fed. Cir. 2021)................................................................................................10

   Synqor v. Artesyn Techs.,
      709 F.3d 1365 (Fed. Cir. 2013)..............................................................................................3, 4



                                                                   vii
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 10 of 63 PageID #: 24237




    Tormenia v. First Invs. Realty,
       251 F.3d 128 (3d Cir. 2000).....................................................................................................25

    Trustees of Columbia Univ. v. Symantec,
       811 F.3d 1359 (Fed. Cir. 2016)..................................................................................................9

    United States v. Mitchell,
       365 F.3d 215 (3d Cir. 2004).....................................................................................................50

    Univ. of Pittsburgh v. Varian Med. Sys.,
       561 F. App’x 934 (Fed. Cir. 2014) ..........................................................................................43

    Voter Verified v. Premier Election Sols.,
       2011 WL 87306 (M.D. Fla. Jan. 11, 2011), aff’d, 698 F.3d 1374 (Fed. Cir.
       2012) ........................................................................................................................................50

    W.L. Gore & Assocs., v. C.R. Bard,
       2015 WL 12815314 (D. Del. Nov. 20, 2015) ..........................................................................47

    Wahpeton Canvas v. Frontier,
      870 F.2d 1546 (Fed. Cir. 1989)................................................................................................10

    Wonderland Switzerland v. Evenflo Co.,
      2023 WL 5568243 (D. Del. Jan. 3, 2023) ................................................................................44

    Wright v. Elton,
       2022 WL 1091280 (D. Del. Apr. 12, 2022) .............................................................................21

    Yarchak v. Trek Bicycle,
       208 F. Supp. 2d 470 (D.N.J. 2002) ..........................................................................................24

    Statutes

    35 U.S.C. §§271(a)-(c).....................................................................................................................7

    35 U.S.C.§ 271(e)(1) ......................................................................................................................37

    35 U.S.C. § 282(b)(3) ......................................................................................................................4

    35 U.S.C. § 284 ........................................................................................................................35, 42

    35 U.S.C. § 325(d) ...................................................................................................................48, 49

    Rules

    Fed. R. Civ. P. 56(a) ..............................................................................................................3, 6, 11

    FRE 702 ...................................................................................................................................30, 46


                                                                           viii
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 11 of 63 PageID #: 24238




    I.     NATURE AND STAGE OF PROCEEDINGS

           Sight’s summary judgment motions ignore abundant evidence contrary to its arguments,

    raise genuine issues of material fact, and fail to streamline issues for trial. D.I. 291 §§V-VIII.

    Sight’s Daubert motions advance incorrect legal “rules” and raise issues best addressed through

    cross-examination, not exclusion. D.I. 291 §§X-XIII. Sight’s motions should be denied.

    II.    SUMMARY OF THE ARGUMENT

           1.      Sight’s Motion 1 parses patent claims into individual terms and requests “partial

    summary judgment of infringement” for each individual term. D.I. 291 § V.C. Infringement,

    however, is based on claims, not individual terms. The Court should reject Sight’s procedurally

    flawed gambit, which would not streamline issues for trial and would risk confusing the jury and

    prejudicing Alcon. See Adams v. Klein, 2020 WL 2404772, at *4 (D. Del. May 12, 2020)

    (denying “partial summary judgment”). Sight’s motion also fails because: (1) it seeks a finding

    that Alcon “infringes” terms in non-limiting preambles; (2) for method claim terms it alleges are

    “infringed” by a delivery system, it provides no evidence how the system meets the claims; and

    (3) it seeks a finding that Alcon “infringes” terms that render the claims indefinite or about

    which there are genuine issues of material fact.

           2.      Sight’s Motion 2 is as improper as its first but seeks an infringement finding for

    different terms—the Block and Patency Limitations 1—that Sight treats as synonymous. D.I. 291

    §VI. The Block/Patency Limitation claims, however, are invalid as indefinite (D.I. 297 §III.C)

    and thus cannot be infringed. Moreover, as explained in Alcon’s Daubert Brief (D.I. 294 §IX),

    Sight improperly relies on new constructions. CommScope Techs. v. Dali Wireless, 10 F.4th


    1
      Sight’s Brief (D.I. 291 at 14-17) refers to the “Block Limitation” as the “without substantial
    interference” limitation and the “Patency Limitation” as the “maintain the patency” limitation.
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 12 of 63 PageID #: 24239




    1289, 1299 (Fed. Cir. 2021). If Sight is permitted to rely on its new constructions, a genuine

    dispute exists whether fluid flows across the trabecular meshwork when Hydrus is implanted.

           3.      Sight’s Motion 3 contends the iStent device is not prior art because “there were no

    public uses” of the device prior to June 26, 2006. D.I. 291 at 19. But Sight ignores the

    overwhelming evidence demonstrating public use and availability of the iStent device before

    June 26, 2006, which at a minimum demonstrates a dispute of material fact.

           4.      Sight’s Motion 4 is contingent on Sight’s Motions 1 and 2. Because those

    Motions should be denied, Motion 4 should also be denied.

           5.      Sight’s motion to exclude Dr. Iwach’s opinion should be denied because his

    opinion is supported by sufficient evidence and he is qualified to make it.

           6.      Sight’s motion to exclude Dr. Izatt’s and Dr. Tanna’s opinions relying on certain

    models should be denied because (1) the models support their opinions under the Court’s claim

    construction and (2) the models are helpful to the trier of fact.

           7.      Sight’s motion to exclude Mr. Meyer and Drs. Becker and Iwach’s opinions

    regarding non-infringing alternatives should be denied because (1) Drs. Becker and Iwach’s

    opinions are based on sufficient and reliable evidence, and (2) Mr. Meyer and Drs. Becker

    and Iwach’s opinions comport with settled law regarding the role of non-infringing alternatives

    in lost profits and reasonable royalty analyses.

           8.      Sight’s motion to exclude Mr. Kunin’s opinions should be denied because he

    opines only on PTO practice and procedure, consistent with the law and helpful to the jury.

    III.   SIGHT’S MOTIONS 1 AND 2 SHOULD BE DENIED BECAUSE “PARTIAL
           SUMMARY JUDGMENT” ON INCOMPLETE AND ISOLATED CLAIM TERMS
           IS IMPROPER, CONFUSING, AND PREJUDICIAL, AND GENUINE ISSUES OF
           MATERIAL FACT EXIST FOR THOSE TERMS

           To prove patent infringement, Sight must prove every element of a patent claim is



                                                       2
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 13 of 63 PageID #: 24240




    satisfied. Int’l Rectifier Corp. v. IXYS Corp., 361 F.3d 1363, 1369 (Fed. Cir. 2004). Neither of

    Sight’s first two Motions alleges infringement of any patent claim. Rather, Sight plucks out

    individual elements, ignoring the surrounding language and other claim limitations, to allege that

    the Hydrus® Microstent, its delivery system, and instructions for use (collectively, “Hydrus”)

    “meet” cherry-picked claim terms. D.I. 291 §§V.C, VI. Sight’s Motions are procedurally flawed:

    infringement requires proving all claim terms are present. See Atl. Thermoplastics Co. v. Faytex,

    970 F.2d 834, 846 (Fed. Cir. 1992). Sight’s attempted end-run around the summary judgment

    rules should be rejected. Sight’s Motions are also substantively flawed—they conflate disputed

    terms in isolation from necessary context in a way that is both confusing and unfairly prejudicial,

    tasking the jury with mixing-and-matching “partial summary judgment” determinations within

    the broader context of the Asserted Claims. An infringement analysis requires analyzing the

    whole claim, and genuine disputes regarding Sight’s selected terms preclude any such finding.

           Sight cites only two authorities for its approach: Fed. R. Civ. P. 56(a) and Synqor v.

    Artesyn Techs., 709 F.3d 1365 (Fed. Cir. 2013). D.I. 291 at 7. Neither supports Sight. Rather

    than “seek[] resolution of a ‘part of a claim or defense’ as intended by [Rule 56],” Adams v.

    Klein, 2020 WL 2404772, at *4 (D. Del. May 12, 2020), Sight seeks piecemeal factual findings

    about individual claim terms. “[T]here is little appetite within the Third Circuit for piecemeal

    Rule 56 adjudications that do not resolve at least one entire claim,” here, patent infringement.

    Chabot v. Walgreens Boots All., 2023 WL 2908827, at *22 (M.D. Pa. Mar. 31, 2023) (collecting

    cases); see also City of Huntington v. AmerisourceBergen Drug, 2021 WL 972295, at *3-4 (S.D.

    W. Va. Mar. 15, 2021) (similar and collecting cases). Synqor is also inapt. In that case,

    Defendants’ only defense to infringement of the claims as a whole was based on a single term in

    each claim (“isolation” terms). 709 F.3d at 1379; see also Synqor’s Brief, No. 2011-1191, 2012




                                                    3
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 14 of 63 PageID #: 24241




    WL 2086325, at *74-80. Because Defendants could not dispute infringement under the court’s

    construction of the “isolation” terms, the Federal Circuit affirmed summary judgment that

    Defendants infringed the claims after holding the “isolation” terms were correctly construed.

    Synqor, 709 F.3d at 1379. That is not the case here, where Alcon disputes infringement based on

    numerous missing or indefinite claim terms, 2 not just the absence of a single term from a claim.

           This case is more like Adams, where the court denied Plaintiffs’ motion for partial

    summary judgment on “elements” of a cause of action because they were not “some sort of

    stand-alone elements which, once resolved, can be cut out of the case or stipulated to in some

    sensible fashion so that a portion of the trial is no longer necessary.” 2020 WL 2404772, at *4.

    So, too, here. See D.I. 289-2. For example, each Asserted Claim recites the term “support,” but

    “support” is never a standalone limitation—it always comprises additional features (e.g., “having

    at least one fenestration” or “compris[ing] an arcuate member” or the amount of “surface area” it

    contacts when placed inside a hypothetical, rigid cylinder). See, e.g., claim 1 of each Asserted

    Patent; see also D.I. 287 (construing “30% of C” as requiring a “slightly arcuate cylinder”

    estimate). Thus, even if an individual term like “support” were generically “met” (it is not, see

    infra §III.A and Resp. SOF1 ¶¶2, 10), Sight still must prove the specific additional limitations of

    the “support” are also met (e.g., that it comprises an arcuate member). Granting Sight’s motion

    that individual claim terms are “met” in isolation (e.g., “support”) risks confusing the jury into

    believing additional related limitations (e.g., arcuate member) are also “met,” prejudicing Alcon.

    Thus, like in Adams, Sight’s “motion is better left undecided because (1) deciding it will do

    nothing to shorten or simplify the trial issues”—Sight still must prove all terms are met—“and

    2
      See Honeywell Int’l, Inc. v. Int’l Trade Comm’n, 341 F.3d 1332, 1342 (Fed. Cir. 2003)
    (indefinite “claims, by definition, cannot be construed” and preclude an infringement analysis);
    35 U.S.C. § 282(b)(3) (invalidity for indefiniteness a defense to infringement).




                                                    4
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 15 of 63 PageID #: 24242




    (2) the jury will be better able to decide the issues of the case without some partial judicial

    imprimatur on a very narrow part of the case.” 2020 WL 2404772, at *4.

           A.      Sight’s Motion 1 Should Be Denied Because It Seeks Summary Judgment of
                   Infringement for Non-limitations, for Method Claims for Which It Cites No
                   Evidence of Infringement, for Terms That Render the Claims Indefinite, and
                   For Terms About Which Genuine Disputes of Material Fact Exist.

           Sight’s Motion 1 (D.I. 291 §§V.C.1-11)—which it seeks “partial summary judgment of

    infringement” of 19 different “claim elements” (D.I. 291 at 1-2)—should be denied for the five

    reasons set forth below.

                   1.     Hydrus cannot “meet” non-limiting preamble terms.

           Sight argues that Hydrus “meets” the preamble terms “device,” “kit,” and “reducing

    intraocular pressure” and this Court should therefore find infringement as a matter of law as to

    those “elements.” D.I. 291 §V.C.1-2. These terms, however, do not limit the asserted claims. See

    Allen Eng’g v. Bartell Indus., 299 F.3d 1336, 1346 (Fed. Cir. 2002) (“Generally, the preamble

    does not limit the claims.”). Whether a preamble is limiting is a claim construction issue Sight

    never asked the Court to decide and therefore forfeited. Catalina Market. Intern. v.

    Coolsavings.com, 289 F.3d 801, 807-08 (Fed. Cir. 2002); Resp. SOF1 ¶¶ 3-4; Aqua Connect v.

    TeamViewer, 2023 WL 6387791, at *6 (D. Del. Sep. 29, 2023) (late claim construction waived).

           If the Court entertains Sight’s belated request, Sight cannot show the preambles are

    limiting. See Catalina, 289 F.3d at 808-09. First, the “device” and “kit” preambles are not

    limiting because the body of the claims provides a “structurally complete invention.” See id. at

    808 (“[A] preamble is not limiting where a patentee defines a structurally complete invention in

    the claim body and uses the preamble only to state a purpose or intended use for the invention.”).

    For example, the preamble of ’482 claim 1 recites a “device” and the body provides the complete

    structure of that device, which is a “support” with certain features. The word “device” in the



                                                    5
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 16 of 63 PageID #: 24243




    preamble “merely gives a descriptive name to the set of limitations in the body of the claim that

    completely set forth the invention,” and is therefore not a claim limitation that can be “met.” IMS

    Tech. v. Haas Automation, 206 F.3d 1422, 1434 (Fed. Cir. 2000).

           Second, the language “for reducing intraocular pressure” in the preamble of the “device,”

    “kit,” and method claims is not a limitation because it only states the “purpose or intended use”

    without itself reciting any features. Catalina, 289 F.3d at 808. As noted above, the body (not the

    preamble) of the device and kit claims recite the features of the device. The preamble in the

    method claims that recites the “for reducing intraocular pressure” term (’482 claim 63; ’361

    claim 1; and ’328 claim 1) is non-limiting because the method steps in the body of these claims

    “are performed in the same way regardless [of] whether or not the patient experiences a

    reduction [in intraocular pressure].” BMS v. Ben Venue Labs., 246 F.3d 1368, 1375 (Fed. Cir.

    2001) (preamble “for reducing hematologic toxicity” non-limiting and “merely expressing a

    purpose”). As non-limitations, the “device,” “kit,” and “reducing intraocular pressure” preambles

    are not a “part of” a claim on which summary judgment can be granted. Similarly, Sight

    mentions other preamble terms (“glaucoma” or “method for treating an eye condition”) without

    providing any supporting argument. D.I. 291 at 2. Not only are these arguments waived, John

    Wyeth & Bro. v. CIGNA, 119 F.3d 1070, 1076 n.6 (3d Cir. 1997), they also fail on the merits, as

    these terms, too, merely express a “purpose or intended use.” BMS, 246 F.3d at 1375. Sight’s

    motion that these various non-limitations are “met” should be denied. Fed. R. Civ. P. 56(a).

                   2.     Sight cites no evidence that Hydrus “meets” the “introducer” terms in the
                          method claims.

           Sight seeks “partial summary judgment of infringement” that Hydrus—a physical thing—

    “meets” the “introducer” elements in certain asserted method claims, but Sight provides no

    evidence to show how the Hydrus delivery system satisfies the method steps. D.I. 291 §V.C.6;



                                                    6
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 17 of 63 PageID #: 24244




    see also D.I. 289-2 at 2 (citing ’742 patent claims 19 and 20, ’328 patent claim 1, and “see also

    ’361, claim 1”); D.I. 291 at 9-10. “A method claim is directly infringed only by one practicing

    the patented method.” Joy Techs. v. Flakt, 6 F.3d 770, 775 (Fed. Cir. 1993); see also 35 U.S.C.

    §§271(a)-(c). Thus, Sight must prove that Alcon (or another entity) actually performs every step

    of the claimed method. “[I]t is not enough to simply show that a product is capable of

    infringement; the patent owner must show evidence of specific instances of direct infringement.”

    Fujitsu Ltd. v. Netgear, 620 F.3d 1321, 1329 (Fed. Cir. 2010).

           Sight relies solely on the physical features of the Hydrus delivery system (e.g., that it has

    a “pusher assembly” or “tubular cannula”) (D.I. 291 at 10), but provides no allegations of

    method performance—either by Alcon or a third party—of the claims requiring “introducer”

    elements. Joy Techs., 6 F.3d at 775; see also Fujitsu, 620 F.3d at 1329. Indeed, Sight’s “Facts”

    do not allege that (much less how) the Hydrus system performs the claimed “introducer” method

    steps, nor does Sight identify anyone allegedly performing the steps. See D.I. 290-1 ¶ 8. Sight’s

    Motion fails on the merits and its arguments forfeited. See John Wyeth, 119 F.3d at 1076 n.6.

                  3.      Sight generically alleges Hydrus “meets” the “support” limitations, but
                          provides no specifics regarding what feature of Hydrus “props” open
                          Schlemm’s canal.

           Sight generically alleges Hydrus “meets” every “support” limitation across all 86

    Asserted Claims without identifying what part of Hydrus is “a prop” or “a structure that props

    something open.” See D.I. 287 §V.C.1. This amounts to no more than an “argument[] raised in

    passing…but not squarely argued,” and is therefore “considered waived.” John Wyeth, 119 F.3d

    at 1076 n.6. Sight’s generic allegation also illustrates the inappropriateness of its piecemeal

    approach to infringement of isolated terms, because the claimed “support” is always tied together

    to disputed features. Atl. Thermoplastics, 970 F.2d at 846. For example, in some claims, the

    “support” must include “an arcuate member” (see, e.g., ’443 cl. 1), a term not in Sight’s Motion


                                                    7
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 18 of 63 PageID #: 24245




    because it is disputed. D.I. 298-19 ¶¶ 137-148; Resp. SOF1 ¶¶2, 10. A finding that Hydrus

    “meets” the “support” term would not resolve the infringement question because that analysis

    must consider the additional claimed features of the “support,” like the “arcuate member.”

    Finding “support” met in isolation would serve only to complicate trial and confuse the jury.

           Sight incorrectly contends Alcon’s expert, Dr. Iwach, “offered no opinion” regarding

    non-infringement for the “support” term. D.I. 291 at 8. But Dr. Iwach offered several opinions

    regarding “support,” including that a portion of Hydrus’s inlet is not a “support” and that Dr.

    Downs failed to explain how certain other portions of Hydrus meet the “support” limitation. See

    D.I. 298-19 ¶¶ 96-105. Dr. Iwach’s opinion that the inlet portion of Hydrus sitting in the anterior

    chamber does not meet the “support” term is unrebutted: that portion is not in Schlemm’s canal

    and therefore cannot prop it open. Id. ¶¶ 96-98. In fact, the Hydrus inlet bypasses the trabecular

    meshwork tissue and undisputedly sits in the anterior chamber without propping anything open:




    D.I. 298-19 at 44-45. Sight’s single word selection from its claims ignores the remainder of the

    surrounding claim language and “will do nothing to shorten or simplify the trial issues,”

    warranting denial of its Motion. Adams, 2020 WL 2404772, at *4.

                   4.     Hydrus cannot “meet” the indefinite “30% of C” limitation.

           Sight also argues that Hydrus “meets” the “30% of C” term that, under the Court’s

    construction, requires estimating the amount of surface area a support will make with Schlemm’s



                                                    8
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 19 of 63 PageID #: 24246




    canal when implanted assuming Schlemm’s canal is a hypothetical “slightly arcuate cylinder.”

    D.I. 291 §V.C.11; D.I. 287. Hydrus, however, cannot “meet” this term because the claims

    reciting it are indefinite, as discussed below. See Netgear v. Ruckus Wireless, 5 F. Supp. 3d 592,

    611 (D. Del. 2013) (denying summary judgment of infringement because claims were

    indefinite); Commil USA v. Cisco Sys., 575 U.S. 632, 644 (2015).

           Sight’s assertion that Hydrus only makes “‘point contact’ with the arcuate (i.e., curved)

    cylinder representing Schlemm’s canal,” D.I. 291 at 13, demonstrates the indefiniteness of the

    term. First, Schlemm’s canal is not “represent[ed]” by an “arcuate cylinder”—the canal can be

    collapsed, stretched, and/or have a variety of cross-sectional shapes that are not circular. See,

    e.g., D.I. 298-1, ’482 Fig. 5A; 1:53-59, 8:31-41 (“narrowed” or “collapsed” canal); D.I. 119-20,

    31:6-18, 35:17-19; D.I. 119-21 ¶ 36.

           Second, the 30% of C term as construed provides nonsensical results that render the

    claims invalid as indefinite. “A claim that is nonsensical or requires an impossibility is indefinite

    as a matter of law.” Koki Holdings v. Kyocera Senco Indus. Tools, 2021 WL 1092579, at *1 (D.

    Del. Mar. 22, 2021). Sight alleges Hydrus is partially implanted into Schlemm’s canal to “prop”

    open the canal (D.I. 291 at 7), but at the same time contends Hydrus makes near-zero percent

    contact with the “arcuate cylinder” supposedly approximating Schlemm’s canal. See D.I. 298-14,

    Downs Op. Rep. ¶ 140 (calculating Hydrus makes 0.00029-0.00044% contact with hypothetical

    cylinder). When implanted into the flexible Schlemm’s canal, Hydrus rests up against its inner

    wall. See, e.g., D.I. 298-19 at 44-45 (depicting implanted Hydrus). It makes no sense that Hydrus

    could rest against the inner wall of Schlemm’s canal, yet make essentially no contact with the

    canal it allegedly props open. This nonsensical outcome confirms the “30% of C” term is

    indefinite. See Trustees of Columbia Univ. v. Symantec, 811 F.3d 1359, 1366-67 (Fed. Cir. 2016)




                                                     9
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 20 of 63 PageID #: 24247




    (“The claims are nonsensical in the way a claim to extracting orange juice from apples would be,

    and are thus indefinite”); Synchronoss Techs. v. Dropbox, 987 F.3d 1358, 1366-67 (Fed. Cir.

    2021). Summary judgment that this indefinite term is “met” should therefore be denied, and

    summary judgment of indefiniteness should be granted in Alcon’s favor (D.I. 297 §III.C).

                   5.      The remaining terms Sight alleges are “met” are standalone terms for
                           which summary judgment is improper.

           Sight also seeks “partial summary judgment of infringement” of seven other individual

    terms, again in isolation from additional limitations surrounding those terms. D.I. 291 §§V.C.3-

    5, V.C.7-10. Many of the terms, however, appear in dependent claims, 3 which can only be

    infringed if the independent claims are also infringed. Wahpeton Canvas v. Frontier, 870 F.2d

    1546, 1553 (Fed. Cir. 1989). Alcon disputes that the independent claims are infringed, including

    because of Sight’s moving-target infringement allegations for terms like “substantial

    interference.” See §III.B below. Summary judgment therefore should be denied because these

    individual terms and dependent claims are not “stand-alone elements which, once resolved, can

    be cut out of the case or stipulated to in some sensible fashion so that a portion of the trial is no

    longer necessary.” Adams, 2020 WL 2404772, at *4; Chabot, 2023 WL 2908827, at *22.

           The scope of the claims is also disputed, which further demonstrates the flaws in Sight’s

    piecemeal approach. Adams, 2020 WL 2404772, at *4. For example, Sight’s expert changed his

    opinion on the plain meaning of the terms “fenestration,” “longitudinally insertable,” and

    “implantable circumferentially” in his Rebuttal Report to try to avoid the prior art. See D.I. 294


    3
      See D.I. 291 §§ V.C.7-10 (arguing dependent claim limitations “[is made from / comprises] a
    shape memory [material / alloy],” “nickel titanium alloy,” or “biocompatible metal.” (’443, cls.
    21, 23, 24, 27; ’482, cls. 8, 10, 11, 39, 41, 42, 77, 79, 80; ’742, cls. 6-9; ’328, claim 25); “support
    comprises fluted edges.” (’482, cls. 5, 36, 68); “the support is flexible” (’443, cl. 52; ’742, cl.
    15); and “further comprising instructions on using the kit.” (’443, cl. 59)).




                                                      10
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 21 of 63 PageID #: 24248




    at 26 (moving to exclude Sight’s expert’s amended construction of “fenestration”); id. at 25-26

    (moving to exclude Sight’s expert’s amended construction of the “insertable” and “implantable”

    terms). Because a “patent may not, like a nose of wax, be twisted one way to avoid anticipation

    and another to find infringement,” CommScope Techs. v. Dali Wireless, 10 F.4th 1289, 1299

    (Fed. Cir. 2021), Sight’s request that individual terms are “met,” including those for which it

    takes inconsistent positions, should be denied.

           B.      Sight’s Motion 2 For Partial Summary Judgment of Infringement That the
                   “Maintain The Patency” And “Block” Limitations Are “Met” Is Premised on
                   Inconsistent Claim Constructions and Should Be Denied.

           Sight’s “Motion No. 2” should be denied for the same reason Sight’s “Motion No. 1”

    should—it seeks summary judgment of “infringement” on two individual claim terms, a

    “piecemeal Rule 56 adjudication[]” for which there is “little appetite within the Third Circuit.”

    Chabot, 2023 WL 2908827, at *22 (collecting cases); see §III above. Moreover, when arguing

    that Hydrus infringes the “maintain the patency” and “Block” (collectively, “‘Patency/Block’”)

    Limitations, 4 Sight has advanced inconsistent claim construction positions that present genuine

    disputes of fact inappropriate for resolution at this stage. Fed. R. Civ. P. 56(a).

           In an effort to prove infringement of the Patency/Block Limitations, Sight and its expert

    originally argued that “Hydrus keeps Schlemm’s canal at least partially unobstructed with

    respect to the flow of aqueous through the trabecular meshwork,” i.e., permits flow. D.I. 298-14

    ¶ 86 (Patency), ¶ 94 (Block). But when attempting to avoid the prior art (which clearly meets the

    claim limitations under Sight’s expert’s original infringement analysis), Sight generated a new

    argument that would require, rather than permit, flow across the trabecular meshwork. D.I. 298-

    4
      Sight presents the same evidence for both limitations. D.I. 291 at 17 (“does not significantly
    block” is “thus related to the ‘maintain the patency term.’”); id. (relying on same evidence for
    “maintain the patency” and Block Limitation). As such, Alcon addresses them together.




                                                      11
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 22 of 63 PageID #: 24249




    24, 9/28 Downs Tr. 107:13-21 (“the ‘substantial interference’ term requires some flow across—

    through the trabecular meshwork”); D.I. 298-23, 9/22 Downs Tr. 85:15-86:8, 208:12-211:13;

    D.I. 298-15, Downs Reb. Rep. ¶¶146-192, 247-279, 375-412, 464-491, 538, 542-576; see also

    D.I. 294 at 23-25. A party’s own theories relating to the scope of claim terms for purposes of

    invalidity that are inconsistent with that party’s infringement theories itself creates a genuine

    issue of fact that warrants denial of a motion for summary judgment. CommScope, 10 F.4th at

    1299 (reversing denial of JMOL of non-infringement). But even under Sight’s improper new

    construction of the Block Limitation, a genuine dispute of material fact exists regarding whether

    flow actually occurs across the trabecular meshwork when Hydrus is implanted. Sight’s Motion

    that these limitations are “met” or “infringed” should therefore be denied.

                   1.     Sight’s inconsistent construction of “Block” and “Patency” Limitations
                          improperly applies a different standard to infringement and invalidity.

           The Court adopted Sight’s and its expert’s advocated-for construction of the “Block”

    Limitation claims, construing these terms to mean “the support does not significantly block

    either fluid outflow from the trabecular meshwork or fluid outflow to the collector channels.”

    D.I. 287 at 1. The Court rejected indefiniteness of the Block Limitation because it “agree[d] with

    [Sight] that a skilled artisan would evaluate whether a support ‘substantially interferes’ or

    ‘significantly blocks’ fluid flow in the eye ‘by determining whether an increase in aqueous

    outflux (and therefore, a decrease in IOP) has been achieved by the support.’” D.I. 273 at 6-7.

    The Court’s construction also requires only that a device permit (i.e., not block) fluid outflow to

    the extent flow exists; it does not require fluid outflow in any specific location. Now, however,

    Sight’s expert asserts that increased outflow/decreased IOP are insufficient to determine whether

    a device significantly blocks fluid flow. According to Dr. Downs, “flow has to occur”

    specifically through the trabecular meshwork. D.I. 298-24 at 107:13-21 (“I believe the



                                                    12
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 23 of 63 PageID #: 24250
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 24 of 63 PageID #: 24251
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 25 of 63 PageID #: 24252




    See Medtronic v. Mirowski Fam. Ventures, 571 U.S. 191, 193-94 (2014). Sight’s expert did not

    conduct or cite any studies where flow data was collected, and he performs no fluid dynamics

    calculations or modeling. D.I. 298-19, Iwach Reb. Rep. ¶¶ 108, 113. Sight falls short of its

    infringement burden and its motion for summary judgment of infringement of the Patency/Block

    Limitations should therefore be denied. See Olaplex v. L’Oreal USA, 845 F. App’x 943, 951

    (Fed. Cir. 2021) (reversing summary judgment where expert presented no independent testing).

              Sight cannot have it both ways: lowering the bar for infringement of the Patency/Block

    Limitations by not showing membrane-specific flow when Hydrus is implanted and

    simultaneously raising the bar for invalidity to require membrane-specific flow in the prior art.

    CommScope, 10 F.4th at 1299. And even if the Court were to adopt Sight’s new construction,

    Sight marshaled no evidence of in vivo flow across the membrane when Hydrus is implanted.

    Accordingly, Sight’s Motion 2 should be denied. See Cross Med. Prods, 424 F.3d at 1309-19.

    IV.       SIGHT’S MOTION 3 FOR SUMMARY JUDGMENT SHOULD BE DENIED
              BECAUSE, AT A MINIMUM, A DISPUTE OF MATERIAL FACT EXISTS
              WHETHER iSTENT WAS PUBLICLY AVAILABLE PRIOR TO JUNE 2006.

              Sight contends for the first time 5 on summary judgment that the physical iStent device 6

    (“iStent”) was not “‘in public use’ or ‘publicly accessible’ in the U.S. prior to June 26, 2006,”

    and thus is not prior art. D.I. 291 at 19. Whether a product was publicly accessible is a fact

    question that requires analysis of “the totality of the circumstances.” Netscape Commc’ns v.

    Konrad, 295 F.3d 1315, 1320 (Fed. Cir. 2002); In re NTP, Inc., 654 F.3d 1279, 1296 (Fed. Cir.

    2011). Sight, as movant, must show that no genuine issues of material fact exist. See 8x8 v.


    5
      Alcon’s Interrogatory No. 8 asked Sight to describe “the basis of any contentions that the cited
    Prior Art…does not constitute Prior Art.” D.I. 298-65; see Add’l SOF3 ¶1. In response, Sight
    failed to include any contention that the iStent device is not prior art. Id.
    6
        Sight only challenges public availability of iStent, not publications about it. D.I. 291 at 19–20.



                                                       15
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 26 of 63 PageID #: 24253




    United States, 854 F.3d 1376, 1380 (Fed. Cir. 2017). Sight cannot meet its burden.

            It is undisputed the iStent was distributed as part of clinical trials at least as early as 2003.

    Sight nonetheless argues that because participants in clinical studies may, as a general matter, be

    subject to confidentiality requirements, this dissemination of iStent does not qualify as a public

    use. That clinical trials as a general matter may be subject to confidentiality provisions says

    nothing about whether the iStent’s were. Alcon also adduced substantial evidence demonstrating

    the device was publicly available. Indeed, Sight concedes numerous publications describing the

    iStent—many containing photographs and descriptions of the device—were publicly available

    before June 26, 2006. The breadth of this dissemination, and the detail with which the iStent was

    described, create a dispute of material fact for trial.

            A.      Substantial Evidence Demonstrates the iStent Was Distributed Without
                    Confidentiality Restrictions Before June, 26 2006.

            Sight concedes clinical trials for the iStent began at least as early as 2003. See D.I. 295-5,

    Parrish Reb. Rep. ¶60. Sight also does not dispute iStent was distributed to clinicians as part of

    these studies. Id.; Ex. 21, Parrish Tr. 162:7-11. Sight only contends these studies may have

    required confidentiality. D.I. 291 at 20-22. The evidence demonstrates otherwise.

            By 2004, investigators had published initial iStent study results. For example, it is

    undisputed that Bahler’s article entitled “Trabecular Bypass Stents Decrease Intraocular Pressure

    in Cultured Human Anterior Segments,” which was published in the American Journal of

    Ophthalmology in December of 2004, showed photographs of the iStent device, including

    implanted in Schlemm’s canal, and described a cadaveric eye study of iStent. D.I. 298-41 at 866-

    867; D.I. 291 at 20. Bahler also described iStent’s design and dimensions down to the

    micrometer (μm), how it is implanted into Schlemm’s canal, and its weight to the milligram. D.I.

    298-41 at 867 (“Methods”). Bahler’s detailed instructions and images mirror iStent’s Directions



                                                       16
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 27 of 63 PageID #: 24254




    for Use (DFU), which Sight does not dispute clinical trial physicians would have received:




        iStent (Bahler)                                                       iStent (DFU)
                                iStent within Schlemm’s
                                     canal (Bahler)
    D.I. 298-41 at 866-867; D.I. 292-41 at 1; D.I. 292-45 at 257:18-25; Ex. 21 at 162:7-11; Ex. 15 at

    189:7-190:7 (admitting figure in Bahler has same curvature as DFU figure). Another researcher,

    Dr. Samuelson, also published an article describing the iStent titled “The New Glaucoma

    Surgeries” in a 2004 issue of Glaucoma Today, explaining the iStent is placed via an ab-interno,

    transcameral approach. See D.I. 292-39 at 942.

           Indeed, by 2005, Glaukos’s iStent was well-known in the industry. Paul Badawi, named

    co-inventor of the Asserted Patents, admitted he was aware of iStent prior to his alleged

    conception of the alleged inventions in June 2006. See Ex. 12 at 41:14-24. Glaukos also

    presented iStent at the Annual Meeting of the Association for Research and Vision in

    Ophthalmology (“ARVO”), which Sight’s expert, Dr. Downs, testified draws thousands of

    attendees and includes device demonstrations. D.I. 298-24 at 174:16-22; 175:18-176:23; 178:21-

    179:16; see also Ex. 55 at 515 (9,700 professionals attended ARVO 2005). Dr. Tanna testified he

    saw “at least one presentation on iStent” at ARVO 2005. Ex. 22 at 59:8-59:14. Dr. Downs

    testified that Glaukos discussed iStent at ARVO 2005 and published the results of a 51-patient

    prospective study of iStent. Ex. 15 at 180:11-184:24; see also Ex. 52 at 290-91. Glaukos

    continued to enroll patients in clinical trials in 2005. See D.I. 292-40 at 954 (describing results of

    a study that began April 2005); D.I. 295-5, Parrish Reb. Rep. ¶60. And iStent continued to be the



                                                     17
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 28 of 63 PageID #: 24255




    subject of industry presentations. See Ex. 54 at 493; Ex. 22, Tanna Tr. 58:12-59:14.

           In March 2006, Dr. Sherwood, a principal investigator in an iStent trial, published

    “Rethinking Glaucoma Surgery: Aqueous within the Eye” on the American Academy of

    Ophthalmology website (“Sherwood”). Like Bahler, he included photos of the iStent device. Ex.

    51 at 285-86, 288. Sherwood also explained how to insert iStent in patients, consistent with

    iStent’s DFU. Compare id. with D.I. 292-41 at 1, 4, 6.

           B.      Sight Fails to Establish No Dispute of Material Fact Exists.

           Sight argues the iStent clinical studies—described in Bahler and Samuelson 2011—do

    not show public use because participants in clinical studies generally may be subject to

    confidentiality requirements. But Sight identifies no such confidentiality provisions for iStent,

    and the exhaustive disclosures of the device, including pictures of it, its physical design, and

    implantation technique are inconsistent with confidentiality restrictions. 7 See §IV.A; Minerva

    Surgical v. Hologic, 59 F.4th 1371, 1380 (Fed. Cir. 2023) (rejecting argument that general policy

    of confidentiality showed lack of public use where record suggested no confidentiality measures

    were actually taken). Indeed, the publicity surrounding iStent (including Bahler, Sherwood, and

    Samuelson) shows the opposite: that Glaukos did not restrict the public dissemination of the

    iStent before Sight’s claimed 2006 priority date. See §IV.A; Minerva, 59 F.4th at 1379-80

    (detailed feedback from trade show indicated no enforcement of company confidentiality policy).

    Sight does not even address Samuelson 2004, the 2005 ARVO presentation, or Sherwood—all

    disclosed during discovery—which further demonstrate the lack of confidentiality restrictions

    placed on the iStent. See Resp. SOF3 ¶4.


    7
     Similarly, whether Dr. Tanna personally had access to the iStent device is immaterial; others
    had access to the iStent with no apparent restrictions. See §IV.A.




                                                   18
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 29 of 63 PageID #: 24256




           The cases Sight relies on are inapposite. In Eli Lilly and Delano Farms, there was

    evidence that confidentiality restrictions applied in the relevant clinical trials, evidence that does

    not exist here. See Eli Lilly and Co. v. Zenith Goldline Pharma., 471 F.3d 1369, 1380-81 (Fed.

    Cir. 2006); Delano Farms v. Cal. Table Grape Comm’n, 778 F.3d 1243, 1248 (Fed. Cir. 2015);

    see also Minerva, 59 F. 4th at 1380, n. 4 (distinguishing Delano Farms based on the existence of

    evidence of confidentiality measures). Even Dey v. Sunovion Pharm., which Sight relies on,

    supports denying Sight’s motion because Alcon’s unrebutted evidence discussed above, at a

    minimum, creates “[i]mportant issues of [disputed] fact.” 715 F.3d 1351, 1356 (Fed. Cir. 2013)

    (reversing finding of summary judgment because of existence of disputed material facts).

    Bruckelmeyer v. Ground Heaters is likewise inapposite, because it dealt with whether a prior art

    patent application was sufficiently “classified and indexed” to be “publicly accessible,” 445 F.3d

    1374, 1378-79 (Fed. Cir. 2006), not whether a device disseminated to POSAs as part of clinical

    trials lacking any indication of confidentiality was “publicly accessible.” In any event, the

    Federal Circuit in Bruckelmeyer found that the application was “publicly accessible.” Id. This

    case is more like Pronova Biopharma v. Teva Pharm., 549 Fed. App’x 934, 942-943 (Fed. Cir.

    2013), where the Federal Circuit found public use when pharmaceutical samples were sent to a

    physician with no confidentiality restrictions or limitations on using the product with hopes of

    engaging him in clinical studies.

           Finally, Sight’s assertion that Dr. Tanna admitted the iStent was not publicly available

    before June 26, 2006 is also incorrect. In the cited excerpt, Dr. Tanna responded to whether there

    was “public prior use” under Sight’s counsel’s definition, which used the legal term of art

    “experimental use,” without clarifying for Dr. Tanna—who is not a lawyer—what “experimental

    use” included. D.I. 292-45 at 226:21-227:8; Lough v. Brunswick Corp., 86 F.3d 1113, 1120 (Fed.




                                                     19
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 30 of 63 PageID #: 24257




    Cir. 1996) (“whether a use is ‘experimental’ [is] a question of law”). Sight’s attempted “gotcha”

    falls apart in light of Dr. Tanna’s complete testimony that further confirms the iStent was

    publicly available before June 26, 2006:

           •   “In 2006 I showed residents the iStent and told them about iStent implantation as
               an ab-interno approach that was on the horizon.” D.I. 292-45 at 80:3-6.

           •   “There were probably 25 different centers that were participating in the clinical
               trial for iStent. And so there were a lot of people who knew and were talking about
               iStent, showing pictures of it, showing video of it. And so there was no secret of
               iStent in 2006.” Ex. 22 at 238:10-16.

           •   “[W]e knew a lot about the iStent prior to FDA approval. Bahler … shows what the
               iStent looks like…[T]here may have been promotional-type materials that people
               were using to show what the iStent looked like.… [Glaukos] was very proud about
               what was developing and definitely was talking about it. And at national meetings,
               there were people… giving lectures about the device.” Ex. 22 at 58:12-59:3.

           •   “[The iStent] was publicly available [before 2006] in that its physical characteristics
               were widely known, as described in Bahler and as described at many meetings. And it
               was available for clinical trials.” D.I. 292-45 at 258:1-8.

           Sight’s hand-waving about hypothetical confidentiality provisions and cherry-picked

    deposition quotes cannot change the abundant evidence demonstrating that the iStent was

    publicly available prior to June 26, 2006. At most, Sight’s arguments demonstrate issues of

    material fact to be decided at trial, and summary judgment should be denied.

    V.     SIGHT’S “CONDITIONAL” MOTION 4 SHOULD BE DENIED

           Sight’s Motion 4 is contingent on its Motions 1 and 2. Because Sight’s Motions 1 and 2

    should be denied for the reasons discussed above (§III), so too should Sight’s Motion 4.

    VI.    DR. IWACH’S TRANSITION-ZONE OPINION IS ADMISSIBLE

           Dr. Iwach opines that a portion of the Hydrus (referred to as the “transition zone”) does

    not meet the “arcuate member” term of claims of the Asserted Patents because (1) Dr. Downs

    relied on an outdated drawing and thus failed to prove the term is met, and (2) the Hydrus’s

    current drawing shows the transition zone is not curved. D.I. 298-19 ¶¶ 90, 137-141. Sight seeks


                                                   20
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 31 of 63 PageID #: 24258




    to exclude Dr. Iwach’s opinion because (1) other evidence allegedly supports a contrary

    conclusion, and (2) Dr. Iwach is not an engineer. D.I. 291 at 25-30. Sight’s criticisms fail

    because they are either irrelevant to the Rule-702 analysis, factually inaccurate, or both.

           First, Sight’s arguments regarding allegedly competing evidence are irrelevant to the

    Rule-702 inquiry. Whether an expert “relied on the best data in forming his opinions is a

    question for the jury.” Allscripts Healthcare v. Andor Health, 2022 WL 3021560, at *15, 17 (D.

    Del. July 29, 2022). As Sight’s own case explains, “what [an expert] did and did not observe, or

    what he did or did not consider” is “fodder for cross examination, not…Daubert.” Integra

    Lifesci. v. HyperBranch Med. Tech., 2018 WL 1785033, at *3 (D. Del. Apr. 4, 2018); Wright v.

    Elton, 2022 WL 1091280, at * 3 (D. Del. Apr. 12, 2022). Even “flatly contradict[ory]” evidence

    “goes to weight and credibility,” not admissibility. Godreau-Rivera v. Coloplast, 598 F. Supp. 3d

    196, 213-14, 207 (D. Del. 2022). If Sight believes conflicting evidence exists, it can present it.

           In any event, the evidence Dr. Iwach relies on is sufficient to support his opinion. Dr.

    Iwach relies on the current engineering drawing of the Hydrus (C00151 Revision J (Ex. 39,

    IVANTIS_SS_00000772)), which is the sole document Ivantis’s manufacturer uses to produce

    the Hydrus according to the specified shape and dimensions. Ex. 43, IVANTIS_SS_00039039 at

    39051, 39053 (noting that Hydrus provides the “current drawing with each purchase order” to

    the manufacturer); Ex. 42, IVANTIS_SS_00136401 at 136418, 136420 (same); Ex. 19, Kimball

    Tr. 81:6-82:9; D.I. 298-19 Iwach Reb. Rep. ¶¶137-141; Ex. 17, Iwach Tr. 199:2-200:2. Sight’s

    expert inexplicably relied on an inaccurate and outdated version of the Hydrus drawing (C00151

    Rev. G) to assert that the Hydrus’s transition zone is curved, concluding it satisfies the “arcuate

    member” term. See, e.g., D.I. 298-14 Downs Op. Rep. ¶123 (citing IVANTIS_SS_00000429 at

    430); Ex. 16, Hadba Tr. 92:21-94:4. Sight apparently seeks to meet its infringement burden by




                                                     21
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 32 of 63 PageID #: 24259




    excluding Dr. Iwach’s analysis of the correct drawing (C00151 Rev. J) and pretending the

    accused design is other than it is. The Court should reject this attempt and deny Sight’s motion.

           Sight seeks to bypass these flaws in its argument by characterizing Dr. Iwach’s opinion

    as “lacking a reliable methodology,” but Sight identifies nothing “unreliable” about his methods

    or analysis. In fact, Dr. Downs uses the same method Dr. Iwach used for analyzing the Hydrus

    drawing: he reviewed the same C00151 drawing (critically, an outdated version) and concluded

    that “[a]s can also be seen from the Hydrus engineering drawings, the inlet region of the Hydrus

    is formed to have a smaller radius of curvature.” D.I. 298-14 Downs Op. Rep. ¶205. Notably,

    neither Sight nor Dr. Downs disputes Dr. Iwach’s opinion that the current Hydrus drawing

    (IVANTIS_SS_00000772) depicts a straight transition zone. D.I. 298-16, Downs Reply Rep.

    ¶¶12-26; see D.I. 298-19 ¶ 140; Ex. 14, 9/22/23 Downs Tr. 346:5-21.

           Second, Sight’s contention that Dr. Iwach ignored contradictory evidence is incorrect.

    Sight contends the written dimensions on the drawing suggest that the entire transition zone is

    curved, and further that Dr. Iwach “could not interpret” them (D.I. 291 at 28), but Sight ignores

    Dr. Iwach’s testimony directly addressing those dimensions and explaining that they are, in fact,

    consistent with his opinion because the arrow Sight relies on does not identify a specific location

    where the curvature ends. Ex. 17, Iwach Tr. 199:2-200:2. In addition, Dr. Iwach also considered

    the testimony of Defendants’ witnesses, along with the drawing, and concluded that the Hydrus’s

    transition zone is not curved. Ex. 3, Iwach Reb. Rep., Ex. B; D.I. 298-19 ¶¶ 137-141.

           Moreover, despite Sight’s selective quotes and mischaracterizations of that testimony,

    none of it contradicts Dr. Iwach’s opinion. Sight relies on testimony from two witnesses to argue

    that manufacturing steps are “not fully reflected in [the Hydrus] schematics,” (D.I. 291 at 28),

    but both witnesses testified directly to the contrary. One witness confirmed the current drawing




                                                    22
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 33 of 63 PageID #: 24260




    (C00151 Rev. J) reflects the shape of the final product after all manufacturing steps have been

    performed. Ex. 10, Abraham Tr. 273:2-5, 277:9-278:24 (discussing Ex. 40 (Dep. Ex. 62 (C00151

    Rev. J)). He further explained that midway through manufacturing, the Hydrus does not yet

    match the drawing—“[y]ou have to go through all the steps for the part to be its final

    configuration to meet this drawing.”). Id. Similarly, the other witness testified the Hydrus is

    manufactured based on the current drawing (Rev. J), and the final product is inspected for

    compliance with that drawing. Ex. 19, Kimball Tr. 81:6-82:9. Further, contrary to Sight’s

    implication, Defendants’ witnesses never testified that the transition zone is curved. D.I. 291 at

    29. In fact, one of the witnesses testified that an older version of the Hydrus drawing depicting a

    curved transition zone was inaccurate because, in reality, the “inlet area [including the transition

    zone] is a lot more rigid so it doesn’t bend,” D.I. 292-10 at 84:18-85:15. This testimony not only

    supports Dr. Iwach’s opinion but also explains why Ivantis revised the drawing to correct the

    inaccurate older versions (including Rev. G, which Dr. Downs incorrectly relies on).

           Similarly, Sight points to testimony that the portion of the Hydrus to the left of a certain

    vertical line in the drawing has a curvature (D.I. 291 at 30), but that testimony does not state that

    the curvature exists along that entire portion of the device (including the transition zone). D.I.

    292-9 Hadba Tr. 134:5-20. While Dr. Iwach’s opinion is sufficiently supported by the Hydrus’s

    drawing, the testimony Sight identifies largely provides additional support for his opinions, and

    he is entitled to rely on such testimony at trial. To the extent Sight disagrees, Sight can cross-

    examine Dr. Iwach on any such evidence. Godreau-Rivera, 598 F. Supp. 3d at 206 n.3.

           Third, Sight’s challenge to Dr. Iwach’s ability to interpret an engineering drawing is

    without merit. D.I. 291 at 27. Dr. Iwach has over 30 years of experience using medical devices to

    treat glaucoma and he implants minimally invasive glaucoma surgery (MIGS) devices




                                                     23
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 34 of 63 PageID #: 24261




    approximately 5-10 times a month. D.I. 298-19 ¶ 6; Ex. 17, Iwach Tr. 90:15-92:7. He also has

    four years of education in engineering, D.I. 298-19 ¶ 5; Ex. 17, Iwach Tr. 9:16-21, 11:8-25, and

    researches, investigates, and develops MIGS devices (often alongside engineers), D.I. 298-19 ¶

    6-10, making him familiar with engineering drawings and MIGS-device geometries, and

    qualified to assess whether a device satisfies the “arcuate member” term. Moreover, Dr. Iwach is

    a POSA under each party’s proposed definition. D.I. 298-19 ¶¶ 42-44; Ex. 2, Iwach Reb. Rep.,

    Ex. A; D.I. 181 at 4-5; D.I. 298-14 Downs Op. Rep. ¶ 42. Sight does not dispute that as a POSA,

    Dr. Iwach is qualified to analyze the drawings, specification, and claims of the Asserted Patents,

    including disclosures of arcuate and straight portions of MIGS devices. Sight fails to identify

    anything about the Hydrus drawing that requires a higher level of skill to analyze than the

    Figures in the Asserted Patents. Sight also fails to explain what “engineering principles” one

    would use to assess whether a surface in a drawing is straight or curved or why Dr. Iwach’s

    engineering education is insufficient. D.I. 291 at 27; Ruggiero v. Yamaha Motor, 2017 WL

    1197755, at *5 (D.N.J. Mar. 31, 2017); Yarchak v. Trek Bicycle, 208 F. Supp. 2d 470, 501

    (D.N.J. 2002). Dr. Iwach is qualified to testify to his opinions.

    VII.   ALCON’S EXPERTS’ 30% LIMITATION OPINIONS ARE ADMISSIBLE

           Sight argues certain of Dr. Izatt’s opinions—and by extension, certain of Dr. Tanna’s

    opinions—rely on models of “straight (i.e., non-arcuate) cylinder[s],” which allegedly result in

    “conclusions that contradict the Court’s claim construction.” D.I. 291 at 30-31. Sight does not

    challenge Drs. Izatt’s and Tanna’s conclusions that, for most prior art devices, the surface area

    contact is 0% because the shape of each device creates only point contact (with any cylinder that

    surrounds it, whether straight or arcuate). Ex. 4, ¶¶66, 69, 106, 139, 144, 150. For certain prior

    art devices with 0% contact area, Dr. Izatt then used a straight cylinder to perform

    “conservative” calculations (i.e., to maximize potential contact for purposes of analysis) of


                                                     24
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 35 of 63 PageID #: 24262




    surface area contact by “include[ing] surface area that is plainly not contacting the cylinder.” Ex.

    4, ¶¶66, 69, 106, 144, 150. This analysis is relevant because (1) the surface-area contact is

    unchanged if the cylinder is straight or arcuate and (2) the surface-area contact calculations are

    far under 30% even using conservative dimensions, such that minor variations would not change

    the result. Critically, Drs. Izatt and Tanna use this analysis to find that the prior-art devices meet

    the 30% limitation under the Court’s construction. Even if Sight disagreed with the calculations

    (it does not), Sight’s criticisms go only to weight, not admissibility. MiiCs & Partners v. Funai

    Elec., 2017 WL 6268072, at *2 (D. Del. Dec. 7, 2017); Tormenia v. First Invs. Realty, 251 F.3d

    128, 135 (3d Cir. 2000) (expert opinion admissible where there was “ample available means to

    challenge perceived weaknesses in assumptions underlying [expert’s] testimony”).

           First, Dr. Tanna considered that Dr. Izatt’s models were done using a non-arcuate

    cylinder and concluded that “the same [analysis] would be true if the straight portions of the

    outlet segments were slightly arcuate and the cylinders were slightly arcuate to match,” (i.e.,

    whether the stent and cylinder are both straight, or are both arcuate, the calculation will not

    change). D.I. 298-17, Tanna Op. Rep. ¶168, 170, 173; Ex. 58 at 17-18; Ex. 59 at 2-5; Ex. 18,

    9/27/2023 Izatt Tr. 18:2-11. Mathematically, a torus (i.e., an arcuate cylinder that connects at the

    ends) has the exact same surface area as a straight cylinder of the same length and cross section.

    Ex. 58 at 17-18; Ex. 59 at 2-5. Neither Sight nor its experts dispute Dr. Izatt’s calculations or Dr.

    Tanna’s opinion that changing the hypothetical cylinder to be slightly arcuate would not have

    any bearing on the calculations. Far from contradicting the Court’s construction, Dr. Izatt’s

    models provide data relevant to his and Dr. Tanna’s opinion that the prior art devices do not meet

    the 30% limitation under the Court’s construction. Sight’s cases do not support its argument

    because the experts in those cases offered opinions that did not follow the court’s construction.




                                                     25
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 36 of 63 PageID #: 24263




    Integra Lifesciences, 2018 WL 1785033, at *5 (excluding opinion that added additional claim

    requirements beyond Court’s construction); Liquid Dynamics v. Vaughan, 449 F.3d 1209, 1224

    n.2 (Fed. Cir. 2006) (same); Minerva Surgical v. Hologic, 2021 WL 3048447, at *8 (D. Del. July

    20, 2021) (excluding opinion that “would completely vitiate the claim limitation”).

           Second, Dr. Izatt’s models are based on dimensions provided by Dr. Tanna. Ex. 4, Izatt

    Op. Rep. ¶55; Ex. 18, 9/27/23 Izatt Tr. 18:7-11, 21:2-4, 35:5-20, 37:11-22, 42:22-43:7, 48:20-

    49:1, 57:25-58:8. Dr. Tanna explains that the dimensions he provided and the calculations that

    follow are meant to be “very conservative” (i.e., overstate the surface contact area under the

    Court’s construction, such that if the calculated value is below 30%, then the surface contact area

    under the Court’s construction is necessarily also under 30%), and that “minor (and in some

    cases major) variations of these dimensions would not change the overall analysis” because even

    such conservative dimensions yield surface-area contact below 30%. See, e.g., D.I. 298-17,

    Tanna Op. Rep. ¶170, 164. Again, Sight does not disagree, and even if it did it could explore any

    such disagreement on cross examination. MiiCs & Partners, 2017 WL 6268072, at *2.

           As for Drs. Izatt’s and Tanna’s opinions that certain prior art devices have 0% surface

    area contact with Schlemm’s canal under the Court’s construction (e.g., Ex. 4, Izatt Op. Rep.

    ¶¶66, 69, 106, 139, 144, 150; D.I. 298-17, Tanna Op. Rep. ¶¶164, 168, 170, 173, 177, 448, 451,

    670), Sight’s experts do not dispute those opinions, and Sight does not identify any basis to

    exclude them. Yet Sight’s proposed order would exclude portions of the expert reports that

    contain these unchallenged 0% opinions. Id. Dr. Izatt’s models are helpful for the jury to

    visualize the basis for both experts’ 0% opinions (e.g., they show how the addition of ribs to a

    stent results in solely point contacts with a cylinder wall). For example, certain physical

    characteristics of these devices (e.g., rounded edges of a wire filament (Ex. 4, Izatt Op. Rep.




                                                    26
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 37 of 63 PageID #: 24264




    ¶¶65-69), pointed ribs (Id., ¶¶104-06, 142-44, 148-150), an ovoid structure (Id., ¶¶137-39))

    render the surface area contact 0%, and this is true regardless of whether the cylinder is arcuate

    or straight. Moreover, the 0% opinions are separately admissible because they are also based on

    analysis, independent of any models, of the interaction between the devices and a hypothetical

    arcuate cylinder under the Court’s construction. Ex. 4, Izatt Op. Rep. ¶¶66, 69, 106, 139, 144,

    150; D.I. 298-17, Tanna Op. Rep. ¶¶164, 168, 170, 173, 177, 448, 451, 670). To the extent Sight

    seeks to exclude the 0% opinions, its motion should be denied.

    VIII. SIGHT’S MOTION TO EXCLUDE OPINIONS                             ON    NON-INFRINGING
          ALTERNATIVES SHOULD BE DENIED

           A.      Drs. Becker and Iwach’s Opinions Are Supported by Sufficient Evidence.

           Sight does not dispute that as of 2012, Ivantis had in its possession two Hydrus designs—

    the “single-radius” Hydrus and the “two-window” Hydrus—that do not infringe the Asserted

    Patents. D.I. 298-14 ¶359-364, D.I. 298-16 ¶¶83, 85. Alcon’s technical expert Dr. Iwach relies

    on documentation from clinical tests and testing in human cadaver eyes, as well as his years of

    experience as a glaucoma clinician, to offer his medical opinion that these two non-infringing

    alternatives (“NIAs”) would not be meaningfully different from the commercialized Hydrus in

    terms of functionality, efficacy, or safety. Alcon’s FDA expert, Dr. Becker, relies on Dr. Iwach’s

    opinion, her own review of the same documentation, her years of professional experience, and

    her review of Ivantis’s FDA submissions for the commercialized Hydrus to conclude that had

    Ivantis implemented the alternative designs in 2012 (or any time before 2017), the NIAs could

    have been rolled into the ongoing investigational device exemption study and been approved to

    market in the same timeframe as the commercialized Hydrus. These opinions are squarely within

    Dr. Iwach’s and Dr. Becker’s areas of expertise and are supported by evidence of the type

    reasonably relied upon by experts in their fields. Sight does not contest Dr. Becker’s or Dr.



                                                   27
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 38 of 63 PageID #: 24265




    Iwach’s qualifications or the “fit” of their testimony. Instead, Sight’s argument is premised

    entirely on Drs. Iwach and Becker’s purported failure to review a single type of data. D.I. 291 at

    32. Sight’s complaint goes to weight, not admissibility, and its motion should be denied.

                   1.      The evidence relied upon by Drs. Iwach and Becker is sufficient and
                           reliable.

           Dr. Iwach’s and Dr. Becker’s opinions are well supported by evidence of the type

    reasonably relied upon by experts in their respective fields, including clinical data, testing in

    cadaver eyes, and internal company reports. For example, Dr. Iwach reviewed a report outlining

    the testing protocol, results, and physician notes of a live four-patient study of the single-radius

    stent conducted by Dr. Ike Ahmed in 2011. See D.I. 298-19 ¶240; Exs. 45-46. Sight argues this

    evidence is irrelevant because the study was primarily concerned with assessing the Hydrus

    delivery system, but the study indisputably involved physical implantations of the single-radius

    Hydrus in live patients and reported no concerns with the safety or efficacy of the device. See

    Ex. 45; Ex. 46 at 390245. Further, as Dr. Becker noted at her deposition, the fact that Dr. Ahmed

    felt comfortable implanting the single-radius device in multiple live patients (as part of the 22-

    patient study) is evidence of clinical equivalence. See Ex. 13 at 47:6-10, 76:3-18, 96:17-97:3.

           In addition to clinical data, Dr. Iwach also relies on internal Ivantis documentation,

    including a Risk Management Report for the single-radius Hydrus, which provided Ivantis’s



                                                     Ex. 44 at 371906. After analyzing the potential

    risks and benefits of the single-radius design, Ivantis concluded




                            further corroborating Dr. Iwach’s opinion. Id. at 371912; see also D.I.



                                                    28
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 39 of 63 PageID #: 24266




    298-19 ¶¶ 245, 248; Ex. 13, Becker Tr. at 62:12-24. Dr. Iwach similarly relies on Ivantis’s Non-

    destructive Functional Test Report for the delivery and use of the single-radius Hydrus, which

    found                                                                          D.I. 298-19 ¶ 241;

    Ex. 41 at 371839. And Dr. Iwach relies on Ivantis testing in human cadaver eyes that concluded

    the single-radius design is

                                                        D.I. 298-19 ¶240 (citing Ex. 46 at 390245).

            Dr. Iwach further relies on human cadaver eye testing by Andy Schieber, the lead

    designer of the Hydrus® Microstent, and by Dr. Gary Condon, a board-certified ophthalmologist

    and cataract surgeon with over 30 years of experience, which found



                                             See D.I. 298-19 ¶241; Ex. 8 at 435507-10; Ex. 7 at

    435566-570. Sight’s argument that these tests would not be considered by the FDA because they

    were conducted in the context of litigation and summarized in expert reports attempts to

    obfuscate the data’s relevance. The data collected by Mr. Schieber and Dr. Condon supports Dr.

    Iwach’s opinion that the NIAs are clinically equivalent to the commercialized Hydrus; the data is

    not somehow different simply because it was gathered and summarized in a litigation report. Cf.

    Ex. 13, Becker Tr. 53:20-54:1 (“[T]hey’re data[ ]based, data driven, so expert opinions

    sometimes are submitted to the agency.”); see also, id. at 60:11-18. Sight’s complaint elevates

    form over substance.

            Sight does not meaningfully dispute the reliability of all this data, instead alleging

    without support that the FDA would not accept it as proof of clinical equivalence because it

    concerns testing on human cadaver eyes rather than live patients. See D.I. 291 at 37-39. That

    criticism entirely misses the point. Neither Dr. Iwach nor Dr. Becker opines that such tests alone




                                                   29
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 40 of 63 PageID #: 24267




    would be sufficient for FDA approval. Instead, Drs. Iwach and Becker use the single-radius

    Hydrus’s performance in human cadaver eye tests to show that in the but-for world where Ivantis

    pursued the single-radius design, the design would have shown clinically equivalent results to the

    commercialized Hydrus. Sight has not shown why experts in Dr. Iwach’s or Dr. Becker’s

    respective fields would not rely on such evidence in this manner. See Inline Connection v. AOL

    Time Warner, 472 F. Supp. 2d 604, 613 (D. Del. 2007) (“Defendants provide no basis that the

    information [the expert] used in his analysis is inadmissible or not accepted by experts in the

    industry. Defendants may not agree with his conclusions, but that is not a basis to strike an

    expert’s opinion under FRE 702 or 703.”).

           It was reasonable for Dr. Iwach to rely upon his years of experience as a glaucoma

    surgeon and the foregoing evidence to show that in the but-for world, the single-radius design

    would have shown clinically equivalent results to the commercialized Hydrus because the

    documents reflect actual performance data from tests of the single-radius Hydrus and Ivantis’s

    own conclusions regarding the functionality, risks, and benefits of the design. Thus, because Dr.

    Iwach’s opinions are evidence-based, they are not ipse dixit, 8 and Dr. Becker’s reliance upon

    them is proper. See Allscripts Healthcare, 2022 WL 3021560, at *37 (expert’s opinions based on

    experience and evidence are not ipse dixit); EMC Corp. v. Pure Storage, 154 F. Supp. 3d 81, 115

    (D. Del. 2016) (“It is perfectly reasonable for [an expert] to adopt the conclusions of other

    experts. Whether those conclusions are sound can be explored at trial….”).



    8
      Sight’s cases are inapposite. Hoefling v. U.S. Smokeless Tobacco dealt with the question of
    medical causation—whether smokeless tobacco caused tonsil cancer—where the expert admitted
    it was “just about impossible” to determine smokeless tobacco’s role in oropharyngeal cancer,
    and yet he drew that conclusion based on his own say-so. 576 F. Supp. 3d 262, 275 (E.D. Pa.
    2021). As discussed above, Dr. Iwach’s opinion is evidence-based.




                                                   30
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 41 of 63 PageID #: 24268




                  2.      The 22-patient study does not undermine Drs. Iwach and Becker’s
                          opinions.

           Sight argues the opinions of Dr. Iwach and Dr. Becker on the clinical equivalency of the

    proposed NIAs are inadmissible because they allegedly failed to consider underlying clinical

    data of 22 patients who were implanted with the single-radius Hydrus. See D.I. 291 at 32, 35-36

    (citing Ex. 56). Sight’s argument that Drs. Iwach and Becker should have considered that data is

    not a basis for exclusion; it is fodder for cross-examination. See Godreau-Rivera, 598 F. Supp.

    3d at 206 n.3 (“Defendant may cross-examine [expert] on [information the expert failed to

    consider], but it does not render his opinion inadmissible.”); In re Proton-Pump Inhibitor, 2022

    WL 18999830, at *9 (D.N.J. July 5, 2022) (similar). Moreover, Sight failed to explain how the

    underlying data for these 22 patients would undermine the reliability of Dr. Iwach’s and Dr.

    Becker’s opinions. During his deposition, Dr. Iwach testified regarding statements in a 2012

    board presentation about the 22-patient study, concluding




                   See Ex. 17, at 240:8-244:17.

           Sight also repeatedly misquotes Dr. Becker in an attempt to raise a reliability issue where

    none exists. Sight cherry-picks statements from Dr. Becker’s background section about clinical

    data in general, divorced from the context of her opinions regarding the single-radius device in

    this case, to argue the clinical data of the 22 live patients implanted with the single-radius

    Hydrus was “particularly important,” “essential evidence” the FDA would need to consider. See

    D.I. 291 at 34 (citing D.I. 295-19, Becker Rep. ¶50). But this argument for exclusion ignores Dr.

    Becker’s repeated explanations about why additional clinical data would not have been necessary

    for FDA approval of the NIAs. D.I. 295-19 ¶¶80, 86. Sight also misrepresents Dr. Becker’s



                                                   31
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 42 of 63 PageID #: 24269




    testimony, alleging she admitted the FDA would not approve the single-radius design absent the

    underlying data from the 22-person study. See D.I. 291 at 34. In fact, she testified to the contrary:

                   Q. But you would agree with me that without seeing the data on
                      the 22 patients who were implanted with the single radius
                      design, you can’t say what the FDA might or might not
                      require. Right?

                   A. I did not say that. I did not say that.

    Ex. 13 at 97:8-13. Dr. Becker actually testified she would expect such information to be

    submitted to the FDA if it were relevant, not that it would change the regulatory pathway for

    either NIA. Id. 99:17-100:15. Indeed, as Dr. Becker explained, additional clinical data is not

    always required for FDA approval, particularly where—as here—the modification is minor with

    respect to a device that already has been clinically validated. D.I. 295-19 ¶¶46-49; id. ¶20. Dr.

    Becker explained that, “given the extensive clinical validation of [the Hydrus] technology, a[n

    FDA] requirement for additional clinical trials is unlikely.” Ex. 13 at 17:24-18:5; see also id.

    30:21-31:23, 32:24-33:2, 105:1-21 (“[T]he products would have comparable safety profiles, and

    that’s based on the accumulated experience over many years in the clinic and a direct

    comparison of the two products in bench testing and this preliminary clinical data.”).

           Sight’s cases also do not support exclusion. Sight points to Pugh v. Community Health

    Systems, a medical malpractice case that concerned an expert who opined about the cause of a

    patient’s autism but failed to consider literature suggesting other causes. 2023 WL 3361166 at

    *12-14 (E.D. Pa. May 10, 2023). The expert further failed to demonstrate the factor at issue

    could cause autism at all, let alone that it actually did in that case. See id. at *14 (“[T]he Court

    finds—particularly in light of [the expert’s] unwillingness to explicitly provide HIE/NE can

    cause autism/ASD—[the expert’s] proffered opinion … is an inadmissible ‘unsupported

    speculation.’”) (emphasis in original). Here, Dr. Iwach and Dr. Becker are not offering



                                                     32
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 43 of 63 PageID #: 24270
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 44 of 63 PageID #: 24271




    387-88 (D. Del. 2014) (“Where there is a logical basis for an expert’s opinion testimony, the

    credibility and weight of that testimony is to be determined by the jury, not the trial judge”);

    bioMerieux v. Hologic, 2020 WL 327161 at *2 (D. Del. Jan. 21, 2020) (allowing opinions “based

    on his extensive experience… and his review of record evidence,” noting “Plaintiffs’ criticisms

    go to the weight, not admissibility, of his opinions.”). Sight’s motion should be denied.

           B.      Considering Design-Arounds Available Prior to Commercial Launch Is
                   Correct Under the Law.

           Sight claims “the law is that the availability of non-infringing alternatives not already on

    the market is assessed beginning at the date of first infringement—here, August 2018—and no

    earlier.” D.I. 291 at 40. First, Sight is wrong about the date of first infringement: that date is

    October 2012, when Sight’s first asserted patent issued and Hydrus was involved in clinical

    trials. Ex. 60. Second, there is no rule that NIAs available prior to the date of first infringement

    cannot be considered for assessing damages. Thus, whether the date of first infringement is

    October 2012 (first patent issuance) or August 2018 (when Hydrus commercially launched), Mr.

    Meyer properly considers the impact of the real-world non-infringing designs Ivantis had

    available to it in August 2012. Sight’s fictitious “rule” has no basis in law. It is Sight’s improper

    attempt to inflate its demands for lost profits and reasonable royalty damages, present a one-

    sided story to the jury, and prevent Ivantis from responding. Sight’s motion should be denied.

                   1.      The date of first infringement is October 2012 and Ivantis had non-
                           infringing designs available as of that date.

           Sight contends August 2018 is the date of first infringement because that is when Ivantis

    obtained FDA approval to commercially launch Hydrus. Ex. 23 at 18-19; D.I. 295-19 ¶4; Ex. 57.

    Although that is the first compensable infringement, Ivantis had been making and using Hydrus

    for years during the term of Sight’s patent. Indeed, Sight’s CEO Paul Badawi




                                                     34
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 45 of 63 PageID #: 24272




                                                     At the same time, Sight began drafting claims in

    subsequent applications to encompass material it did not invent to try to read on Hydrus. D.I. 297

    at 1, 13-15. In fact, when the ’482 patent issued in 2012, Paul Badawi

                                                                                   see D.I. 298-1, U.S.

    Pat. No. 8,287,482 (“’482 Patent”). Yet Sight did not even “think” about telling Ivantis of

    purported infringement of the ’482 patent until it filed the Complaint in this litigation nine years

    later, in 2021. D.I. 298-59, RFA No. 24; Ex. 12 at 90:20-91:1.

           Ivantis had non-infringing designs available in 2012, when the ’482 patent issued and

    alleged infringement began (even if exempt from liability under §271(e)’s safe harbor). It made a

    stent that does not practice Sight’s patents, and successfully implanted that stent in humans, facts

    unrebutted by Sight. D.I. 295-19 ¶¶ 20, 80, 82; D.I. 298-19 ¶¶228, 256; Ex. 61, Schultz Tr.

    157:14-24. Although Ivantis ultimately chose to pursue the Hydrus design Sight now accuses,

    alternate designs were available to Ivantis in 2012. Those facts affect the lost profits and

    reasonable royalty analyses, as described below.

                   2.      Non-infringing alternatives affect the calculations for lost profits and
                           royalty damages.

           Under 35 U.S.C. § 284, a prevailing plaintiff is entitled to “damages adequate to

    compensate for the infringement, but in no event less than a reasonable royalty for the use made

    of the invention by the infringer.” For lost profits, the proper analysis “requires a reconstruction

    of the market, as it would have developed absent the infringing product….” Grain Processing v.

    Am. Maize-Prods., 185 F.3d 1341, 1350 (Fed. Cir. 1999). For a reasonable royalty, the proper

    analysis determines what the parties would have agreed to ex ante in an “arms-length”

    negotiation between a willing licensor and willing licensee (called a hypothetical negotiation,



                                                     35
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 46 of 63 PageID #: 24273




    which applies only in the reasonable royalty context). Lucent Techs. v. Gateway, 580 F.3d 1301,

    1324 (Fed. Cir. 2009). If the defendant developed or could readily have developed its own NIA

    before the accused conduct began, that is relevant to both forms of damages, albeit for different

    reasons that Sight’s motion conflates. In the lost profits context, if the defendant had an NIA

    available, the plaintiff generally cannot show the infringement caused it to lose profits because

    “a rational would-be infringer is likely to offer an acceptable noninfringing alternative, if

    available, to compete with the patent owner rather than leave the market altogether.” Grain

    Processing, 185 F.3d at 1351. Importantly, a non-infringing alternative need not have actually

    been on the market to be considered. Id. at 1350-51. Likewise, in the reasonable royalty context,

    the availability of an NIA may reduce the amount of royalties to which the parties would have

    agreed in a hypothetical negotiation. “[A] party may ... estimate the value of the benefit provided

    by the infringed features by comparing the accused product to non-infringing alternatives.”

    Apple v. Motorola, 757 F.3d 1286, 1315 (Fed. Cir. 2014), overruled on other grounds by

    Williamson v. Citrix Online, 792 F.3d 1339 (Fed. Cir. 2015).

           Consistent with Federal Circuit precedent, Alcon’s damages expert considers Ivantis’s

    non-infringing designs in his analyses of lost profits and royalty damages. In his opinion, these

    non-infringing designs are relevant to how “the market would have developed absent the

    infringing product” and show Sight suffered no lost profits. D.I. 298-13 ¶¶105-106. He also

    opines these designs would have affected a hypothetical negotiation over a reasonable royalty in

    2018 because the cost of implementing these designs acts as a proxy for the incremental value of

    Sight’s patents—as opposed to awarding “hold-up” value due to costs incurred as a result of

    regulatory delay (see infra). Id. ¶¶160-162. Mr. Meyer’s opinions comport with the law and the

    jury should be permitted to hear his testimony.




                                                      36
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 47 of 63 PageID #: 24274




                   3.      Mr. Meyer’s lost profits analysis properly evaluates non-infringing
                           alternatives available to Defendants during the period of infringement. 10

           A lost-profits analysis “requires a reconstruction of the market, as it would have

    developed absent the infringing product, to determine what the patentee would . . . have made.”

    Grain Processing, 185 F.3d at 1350. “[O]nly by comparing the patented invention to its next-

    best available alternative(s) — regardless of whether the alternative(s) were actually produced

    and sold during the infringement — can the court discern the market value of the patent

    owner’s exclusive right, and therefore his expected profit or reward, had the infringer’s activities

    not prevented him from taking full economic advantage of this right.” Id. at 1351. 11

           Ivantis’s successfully implanted, non-infringing 2012 design is relevant and necessary to

    give an accurate picture of the “market as it would have developed” absent infringement. Grain

    Processing, 185 F.3d at 1350. In 2012, when the ’482 patent issued, Hydrus was in clinical trials.

    Those trials would otherwise be infringing acts, but they are exempted from liability under 35

    USC 271(e)(1)’s safe harbor. See REGENXBIO v. Sarepta Therapeutics, 2022 WL 609141, at *2

    (D. Del. Jan. 4, 2022) (“271(e)(1) is an affirmative defense.”); Galderma Labs. v. Medinter US,

    2020 WL 871507, at *3 n.2 (D. Del. Feb. 14, 2020); Classen Immunotherapies v. Somaxon

    Pharms., 2013 WL 9947386, at *2 n.1 (C.D. Cal. Apr. 11, 2013) (same). Thus, October 2012 is

    the date of first infringement. August 2018 is merely the first compensable infringement because

    10
     As discussed above, the opinions of Drs. Becker and Iwach are reliable and supported, and Mr.
    Meyer’s reliance on them is reasonable. See EMC Corp., 154 F. Supp. 3d 81, 115.
    11
       The Grain Processing court cited several secondary sources explaining why, economically,
    treatment of non-infringing alternatives is necessary in order for lost profits to approximate the
    value of the purported invention. See Grain Processing, 185 F.3d at 1351 (“The infringer should
    have a chance to argue what he or she might have done in the absence of infringement.
    Obviously, if the defendant is not permitted to present evidence of this ilk, the analysis is quite
    skewed: only the patentee’s ‘best case’ scenario is presented, rather than a more realistic
    scenario.”).




                                                    37
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 48 of 63 PageID #: 24275




    it is when Hydrus received FDA approval for commercial launch and when Sight contends it

    began losing profits. In 2012, when the ’482 patent issued—or even as late as 2017—Ivantis

    could have pursued one of the alternative designs it had already made and already implanted

    successfully in humans and not lost any time launching a commercial product by August 2018.

    That is relevant under Grain Processing, which requires that “a fair and accurate reconstruction

    of the ‘but for’ market also must take into account, where relevant, alternative actions the

    infringer foreseeably would have undertaken had he not infringed.” Grain Processing, 185

    F.3d at 1350-51. Moreover, in Grain Processing, the court affirmed the district court’s denial of

    lost profits based on a non-infringing alternative that was available more than two years before

    the first compensable infringement. Id. at 1348, 1351. 12 Mr. Meyer’s opinions comport with the

    law, and his opinions should not be excluded.

           Sight relies primarily on Apple v. Samsung to argue for a rule that would cut off evidence

    of non-infringing alternatives if the evidence predates the first compensable infringement.

    Sight’s motion distorts that case, which addressed different issues and does not support Sight’s

    purported rule. In Apple v. Samsung, although the district court said “design arounds must be

    considered beginning on the date of first infringement,” that was in the context of considering a

    plaintiff’s argument for a later date—when notice occurred. 2013 WL 5958172 at *1 (N.D. Cal.

    Nov. 7, 2013). The court was not asked to exclude evidence of earlier design-arounds. As Apple

    explained (citing Federal Circuit precedent), “an accurate lost profits analysis necessarily

    considers the full course of infringement,” 2013 WL 5958172, at *3, and “pre-notice

    12
       Sight does not rely on the statement in Grain Processing at 1563, and it should not do so for
    the first time in its reply. See generally, D.I. 291. In that section of its opinion, the Federal
    Circuit did not rewrite its preceding, lengthy discussion of how to construct “a fair and accurate
    reconstruction of the ‘but for’ market.” It addressed the procedural burdens of the parties in
    addressing non-infringing alternatives.




                                                    38
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 49 of 63 PageID #: 24276




    infringement is still infringement.” Id. at *4–5. The Apple court emphasized that the Federal

    Circuit barred lost profits in Grain Processing “[b]ecause American Maize had a noninfringing

    alternative ‘available’ to it over two years before Grain Processing became eligible to receive

    infringement damages.” Id., at *2 (citing Grain Processing, 185 F.3d at 1348). 13 Apple supports

    Defendants, not Sight: Apple rejected the plaintiff’s attempt to erase early evidence of available

    non-infringing alternatives, and thereby present an incomplete picture of how the market would

    have developed. What Apple rejected is what Sight is trying to do here. Just as “pre-notice

    infringement is still infringement” when reconstructing the market for damages purposes, so too

    are Ivantis’s actions during the safe harbor—they are just exempt from liability under an

    affirmative defense. See, e.g., REGENXBIO, 2022 WL 609141, at *2; Galderma, 2020 WL

    871507, at *3 n.2.

           Sight cites Janssen Biotech v. Celltrion Healthcare, 239 F. Supp. 3d 328 (D. Mass.

    2017), in passing, but that case also supports Defendants, not Sight. Janssen determined “the

    starting date to analyze whether there was a reasonable alternative … was 2009 when the patent

    was issued,” Janssen, No. 1:15-cv-10698-MLW, Dkt. 516 (Feb. 24, 2017 Hrg. Tr.) at 76. That

    was so even though the accused biologic drug did not launch commercially until December

    2016. Dkt. 414 at 18. At bottom, by angling to cut off evidence of non-infringing alternatives

    before 2018, Sight tries to distort the market-reconstruction analysis by taking advantage of the

    FDA regulatory process. 2018 is when the safe harbor expired, not when the infringement began.

    Under Sight’s purported rule, if an accused device is subject to FDA approval, no non-infringing


    13
      In the first Grain Processing case, Judge Easterbrook, sitting by designation, analyzed what
    design-arounds the defendant could have pursued when the asserted patent issued in 1974—
    even though the damages period did not start until 1979. 893 F. Supp. 1386, 1391 (N.D. Ind.
    1995).




                                                   39
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 50 of 63 PageID #: 24277




    alternative is possible—even if a physically complete, successfully tested alternative exists—

    unless the alternative is FDA-approved. Sight’s fictitious “rule” would distort the market-

    reconstruction analysis by requiring the factfinder to imagine that the accused infringer could not

    begin the FDA approval process for the alternative until after the safe harbor expires for the

    accused product. That makes no sense, is contrary to Grain Processing, and would

    systematically “overreward” plaintiffs without regard to their inventive contributions. Grain

    Processing, 185 F.3d at 1351 (“[U]nless the law wishes to systematically overreward patented

    inventions, it is necessary to inquire about the nature and value of the product that the infringer

    could have made had he not infringed.”).

                   4.     Mr. Meyer’s reasonable royalty analysis properly evaluates NIAs
                          available to Defendants to apportion the value of the patented technology.

           Sight asserts “the same rule applies” for NIAs in the reasonable royalty context as in the

    lost profits context, D.I. 291 at 41, claiming consideration of NIAs is “presumed to begin on the

    date of first infringement, i.e., the date of the hypothetical negotiation.” Id. That argument

    conflates distinct concepts. In the lost profits context, courts consider whether the defendant had

    a design-around available for implementation in lieu of the infringing product. Grain Processing,

    185 F.3d at 1349. But the reasonable royalty “does not look to what would have happened absent

    the infringing product, but to what the parties would have agreed upon as a reasonable royalty on

    the sales made by the infringer.” AstraZeneca v. Apotex, 782 F.3d 1324, 1334 n.3 (Fed. Cir.

    2015); see also RSB Spine v. DePuy Synthes Sales, 2022 WL 17084156, at *4 (D. Del. Nov. 18,

    2022) (Grain Processing applies to lost profits not reasonable royalty); Salazar v. HTC, 2018

    WL 2033709, at *3 (E.D. Tex. Mar. 28, 2018) (“[NIAs] don’t play the same role in a reasonable-

    royalty determination.”). Thus, as one court explained, the Federal Circuit has held that “even

    though ‘[t]here was . . . no available and acceptable noninfringing alternative to which [the



                                                    40
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 51 of 63 PageID #: 24278




    defendant] could have switched at the time of the hypothetical negotiation,’ the fact that there

    was a possibility that the defendant ‘could have come up with one’ was sufficient to justify the

    district court’s reduction of a blended royalty rate from 11.5% to 7%.” Carnegie Mellon Univ. v.

    Marvell Tech., 2012 WL 3686736, at *4 (W.D. Pa. Aug. 24, 2012) (citing Mars v. Coin

    Acceptors, 527 F.3d 1359, 1373 (Fed. Cir. 2008)). A fortiori here, where the non-infringing

    alternative is not speculative but a real-world alternative design successfully implanted in

    humans years before the date of the hypothetical negotiation, Mr. Meyer should be able explain

    how that fact would put downward pressure on the royalty rate.

           Sight’s purported “rule” would inflate its demand for royalty damages by capturing the

    value of regulatory delay, which would contravene the goal of a hypothetical negotiation, and

    violate longstanding apportionment principles. Under Sight’s fabricated “rule,” Ivantis could not

    consider designing around the Asserted Patents until August 2018 (the date of first compensable

    infringement), six years into Ivantis’s activities practicing Sight’s issued patent. D.I. 291 at 41.

    In August 2018 (the date of FDA approval) Ivantis would be fully locked in to the accused

    Hydrus design that was poised to commercially launch. Sight would require the jury to imagine

    that Ivantis could only then start considering designing around Sight’s patents, and that Sight

    could use the leverage of regulatory delay to extract inflated royalties. D.I. 298-10 ¶¶86, 154.

    Again, Sight’s purported rule has no basis in, and is contrary to, precedent. The hypothetical

    negotiation “should not be based on any premise that the patent holder had the infringer ‘over the

    barrel’ due to infringement that later occurred and, therefore, could extract a premium.” Oracle

    Am. v. Google, 798 F. Supp. 2d 1111, 1121 (N.D. Cal. 2011). Yet that is exactly what Sight

    wants to do under the guise of its “rule”: use delays involved in the regulatory framework as

    leverage to inflate patent value.




                                                    41
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 52 of 63 PageID #: 24279




           Sight’s purported rule would violate apportionment principles because the cost of

    obtaining regulatory approval in 2018 has nothing to do with the value of Sight’s patents. 35

    U.S.C. § 284 authorizes damages “adequate to compensate for the infringement,” which may be

    royalties “for the use made of the invention.” For more than 100 years, the Supreme Court has

    held that patentees cannot capture other items unrelated to the incremental value of their

    invention. Rather, they must “separate or apportion the defendant’s profits and the patentee’s

    damages between the patented feature and the unpatented features.” Garretson v. Clark, 111 U.S.

    120, 121 (1884). Such unpatented features include, among others, features that are in the prior

    art, Exmark v. Briggs & Stratton, 879 F.3d 1332, 1347-48 (Fed. Cir. 2018); features that are

    unclaimed, Power Integrations v. Fairchild Semiconductor Int’l, 904 F.3d 965, 977 (Fed. Cir.

    2018); manufacturing costs, Beatrice Foods v. New Eng. Printing & Lithographing, 899 F.2d

    1171, 1176 (Fed. Cir. 1990) (en banc); and standardization, Ericsson v. D-Link Sys., 773 F.3d

    1201, 1232 (Fed. Cir. 2014). For standard-essential patents, the Federal Circuit disapproved of

    patentees extracting “hold-up,” value, which is “when the holder of a SEP demands excessive

    royalties after companies are locked into using a standard,” in order to “ensure that the royalty

    award is based on the incremental value that the patented invention adds to the product, not any

    value added by the standardization of that technology.” Ericsson, 773 F.3d at 1209, 1232 (Fed.

    Cir. 2014) (emphasis original). Sight’s attempt to capture the value of the FDA regulatory

    process is no different from a SEP-holder’s attempt to capture the value of an entire

    technological standard. Like manufacturing costs and the value of a standard, regulatory delay

    has nothing to do with the patented invention and must be apportioned out of any demand for

    damages. See Beatrice Foods, 899 F.2d at 1176. “Any evidence unrelated to the claimed

    invention . . . punishes beyond the reach of the statute.” ResQNet v. Lansa, 594 F.3d 860, 869




                                                   42
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 53 of 63 PageID #: 24280




    (Fed. Cir. 2010).

           Accordingly, by valuing the cost to design around in 2012, Mr. Meyer’s analysis

    altogether avoids consideration of “hold up” value due to regulatory delay in 2018. Mr. Meyer

    therefore opines that because it would have cost Ivantis                    to design around the

    patents in 2012, “[a]ny additional amount that Sight Sciences seeks to recover as royalties is

    artificially inflated” and “does not measure the contributions of the Asserted Patents.” Id. ¶162.

    To be clear, Mr. Meyer does not contend Ivantis would have implemented the design-around in

    2018; rather, he contends that in 2018 when the parties hypothetically meet to discuss the value

    of the patented technology (separating out the value of anything extraneous to the patents),

    Ivantis would have benchmarked that value as the cost to design around the patents as of 2012,

    the date the ’482 patent issued (because the cost to design around in 2018 would include “hold-

    up” value). Id. ¶¶161-162, Attachment 14; Ex. 62 at 35:11-25, 101:12-102:24, 134:17-135:21,

    151:21-155:1, 162:18-167:20. In this regard, Ivantis’s non-infringing alternatives are relevant to

    multiple Georgia-Pacific factors. D.I. 298-13 Attachment 14; Univ. of Pittsburgh v. Varian Med.

    Sys., 561 F. App’x 934, 947-48 (Fed. Cir. 2014) (Georgia-Pacific factors nine, ten, and thirteen

    assist to evaluate the “incremental value” of “claimed invention”).

           Sight’s argument to preclude Mr. Meyer’s opinion regarding NIAs in the reasonable

    royalty context relies almost entirely on AstraZeneca v. Apotex, 985 F. Supp. 2d 452 (S.D.N.Y.

    2013). In that case, the court, sitting as factfinder, held that Apotex did not have an available

    NIA because Apotex had tried and failed (multiple times) to create non-infringing alternatives

    during the development of its ANDA product. 985 F.Supp.2d at 499-500. Sight focuses on

    statements from AstraZeneca rejecting Apotex’s argument that it could have begun designing

    around prior to the date of the hypothetical negotiation, suggesting the Federal Circuit “affirmed




                                                    43
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 54 of 63 PageID #: 24281




    that portion of the decision” and “agreed that the date to begin designing around the patent was

    the date of first infringement (not earlier).” D.I. 291 at 43.

            Not so. The Federal Circuit never discussed the “date to begin designing around the

    patent,” and simply held the district court’s reasonable royalty award was not clear error or an

    abuse of discretion. AstraZeneca II, 782 F.3d at 1333. Importantly, the Federal Circuit did not

    endorse any suggestion that AstraZeneca could capture the value of regulatory delay in its

    damages award. The decision relied instead on the district court’s “principal finding” that “the

    evidence shows that none of Apotex’s proposed changes to its infringing formulation were

    feasible.” 782 F.3d at 1335. Although Apotex argued that AstraZeneca had been

    overcompensated by capturing the value of regulatory delay, the Federal Circuit took care to

    observe that that aspect of the district court’s ruling was an “alternative ground” that “had no

    effect on the court’s damages calculation” because the evidence showed more broadly that

    “Apotex’s prospect of developing its own non-infringing alternative was bleak, with or without a

    period of FDA delay.” Id. The opposite is true here. Here the facts demonstrate Ivantis actually

    had in hand a non-infringing alternative it had implanted in humans. Ultimately, “[w]hether

    [NIAs] were available is a question of fact and is not a sufficient basis for the exclusion of Mr.

    [Meyer’s] opinion.” Wonderland Switzerland v. Evenflo Co., 2023 WL 5568243, at *5 (D. Del.

    Jan. 3, 2023).

            Sight’s reliance on AstraZeneca’s discussion of Hanson v. Alpine Valley Ski Area 14 is

    likewise misplaced. Indeed, Sight’s statement that “the [AstraZeneca] court interpreted the

    Hanson decision to mean that ‘[t]he hypothetical negotiation is hypothetical in the sense that the

    14
      Hanson is also inapposite as there the accused infringer argued that the cost of implementing a
    non-infringing alternative should act as a cap on the reasonable royalty, but Mr. Meyer makes no
    such claim. See 718 F.2d 1075, 1081–92 (Fed. Cir. 1983); Ex. 62 at 134:17–135:21.




                                                      44
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 55 of 63 PageID #: 24282




    negotiation itself is imaginary, not in that it allows the parties to construct an entirely imaginary

    world that ignores the facts as they existed at the date of infringement,’” D.I. 291 at 42-43

    (emphasis omitted), applies to what Sight is trying to do here: ignore the fact that Ivantis actually

    had non-infringing alternatives available to it as early as October 2012, the date of first

    infringement. See AstraZeneca, 985 F.Supp.2d at 501.

           Shure v. ClearOne, cited by Sight, actually supports Mr. Meyer’s approach. There the

    patentee alleged ClearOne’s damages expert applied the wrong hypothetical negotiation date

    because she “rel[ied] on data about possible ClearOne alternative designs drawn from a time

    period prior to the hypothetical negotiation date[.]” 2021 WL 7209740 at *5 (D. Del. Oct. 5,

    2021). The Court rejected that argument, holding there “is nothing inappropriate about” the

    expert’s discussion of “several options for non-infringing [alternatives]” that were drawn “prior

    to the hypothetical negotiation date,” and that those earlier options were relevant to “what non-

    infringing design paths ClearOne would have considered at the time of the [hypothetical]

    negotiation.” Id. Mr. Meyer’s analysis mirrors the analysis found permissible in Shure. He does

    not challenge Mr. Jarosz’s opinion that the hypothetical negotiation date is August 2018, based

    on the first commercial sale of Hydrus, but he properly accounts for the real-world non-

    infringing design paths Ivantis would have considered at that hypothetical negotiation to

    benchmark the value of the Asserted Patents (instead of valuing the hold-up associated with

    changing paths on the date Ivantis received regulatory approval for the accused Hydrus design).

    Ex. 62 at 35:11-25, 101:12-102:24, 151:21-155:1, 162:18-167:20; D.I. 298-13 ¶¶161-162. In

    arriving at these opinions, Mr. Meyer relies on Dr. Iwach’s opinion that the design-arounds are

    clinically equivalent to the commercialized Hydrus, and on Dr. Becker’s opinion that Ivantis

    could have switched to either design-around during the FDA approval process without impacting




                                                     45
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 56 of 63 PageID #: 24283




    Hydrus’s commercial launch date. D.I. 298-13 ¶¶105-106, 160-162, D.I. 295-19 ¶80. Just as in

    Shure, there is “nothing inappropriate” about this analysis. 2021 WL 7209740 at *5. At best,

    Sight’s arguments go to the weight of Mr. Meyer’s opinions and fail to overcome Rule 702’s

    “liberal policy of admissibility.” Bd. of Regents Univ. of Tex. v. Boston Sci., 2022 WL 17584180,

    at *328 (D. Del. Dec. 12, 2022). Sight’s motion seeks to silence Alcon’s experts from presenting

    facts about non-infringing alternatives that existed in the real world in order to inflate damages in

    violation of Federal Circuit precedent. Its motion should be denied.

    IX.    SIGHT’S MOTION TO EXCLUDE MR. KUNIN’S OPINIONS SHOULD BE
           DENIED BECAUSE HIS OPINIONS WILL BE HELPFUL TO THE TRIER OF
           FACT AND HE IS QUALIFIED TO GIVE THEM.

           Sight’s expert, Dr. Downs, opines that certain prior art references relevant to the Asserted

    Patents were “considered” by the U.S. Patent & Trademark Office (“PTO”). 15 In response,

    Alcon’s expert, Mr. Kunin—former PTO Deputy Commissioner for Patent Examination

    Policy—explained that there was insufficient evidence to support Dr. Downs’s opinion. Sight

    now improperly seeks to exclude Mr. Kunin’s testimony, preferring Dr. Downs’s speculation go

    to the jury unchallenged. Sight concedes Mr. Kunin is well qualified to offer his opinions, but

    claims he provides improper legal opinions that are unresponsive, contradict precedent, and

    otherwise “will not be helpful.” D.I. 291 at 46-50. But Mr. Kunin opines only on PTO practice

    and procedure, responds directly to Dr. Downs’s unqualified opinions on the same, and presents

    opinions consistent with the PTAB’s Advanced Bionics decision and helpful to the jury.

           First, Sight incorrectly claims Alcon proffers Mr. Kunin as a “legal expert,” so he should


    15
      Alcon moved to exclude Dr. Downs’s PTO procedure opinions, as he is admittedly not “an
    expert on patent and trademark office procedures.” See D.I. 298-23 at 41:20–22; D.I. 294 at 22–
    23. If the Court grants Alcon’s motion, Alcon does not intend to call Mr. Kunin at trial, and the
    Court should deny Sight’s motion to exclude Mr. Kunin’s opinions as moot.




                                                     46
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 57 of 63 PageID #: 24284




    be excluded. D.I. 291 at 46. To the contrary, Courts routinely permit patent law experts, like Mr.

    Kunin, “to testify about matters such as general practices and procedures employed by the PTO

    in examining or reexamining patents.” Sonos v. D & M Holdings, 297 F. Supp. 3d 501, 511 (D.

    Del. 2017) (collecting cases). Mr. Kunin provides opinions consistent with his expertise

    (including ten years as the Deputy Commissioner for Patent Examination Policy): he explains

    PTO examination practices and procedures in response to Dr. Downs’s unqualified opinions that

    the examiner “considered” certain prior art during prosecution. See e.g., D.I. 295-31 ¶¶5, 10, 32-

    38, 52-58, 64-69. Courts routinely admit this type of testimony. Sonos, 297 F. Supp. 3d at 511;

    W.L. Gore & Assocs., v. C.R. Bard, 2015 WL 12815314, at *3 (D. Del. Nov. 20, 2015) (“PTO

    practices and procedures” testimony permissible).

           Second, Sight’s argument that “Mr. Kunin’s opinions are not responsive to any opinions”

    is wrong. D.I. 291 at 48. Dr. Downs opined in his Rebuttal Report that prior art references in Dr.

    Tanna’s Opening Report “are the same as or substantially the same as references presented to the

    [PTO] during prosecution.” D.I. 298-15 ¶¶98, 101-106. Dr. Downs concluded that the PTO

    examiner “considered” those references based on his unqualified “interpret[ation]” of the

    prosecution history. Id. at ¶100 (“I would interpret that to mean the examiner did consider the

    reference.”); see also id. at ¶¶101-110. Dr. Downs admits he is “not an expert on patent and

    trademark office procedures.” D.I. 298-23 at 41:20-22. Mr. Kunin, on the other hand, relies on

    decades of PTO expertise to rebut Dr. Downs’s speculative opinions. 16 For example, Mr. Kunin

    responds to Dr. Downs’s unqualified “interpretation,” explaining that simply because a reference

    appears in a search query does not necessarily mean the reference was substantively reviewed by

    16
       Dr. Downs’s “[s]peculation about the thought processes or reasoning of the examiner is
    inadmissible” and should be excluded. See D.I. 294 at 22–23; Abbott Biotech. v. Centocor Ortho
    Biotech, 2014 WL 7330777 at *8 (D. Mass. Dec. 19, 2014).




                                                   47
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 58 of 63 PageID #: 24285




    the examiner. E.g., D.I. 295-31 ¶¶33, 81, 84-85. Sight’s contention that Mr. Kunin opines that

    the PTO “did not substantively review prior art references at-issue,” is thus incorrect. D.I. 291 at

    47. Mr. Kunin merely opines that there is insufficient evidence to conclude the references were

    substantively reviewed, contrary to Dr. Downs’s speculative opinion that they were

    “considered.” See D.I. 295-31 ¶¶74, 80-81, 85, 89, 92-93, 98, 116, 119; D.I. 298-15 ¶¶100-110.

    Sight also insinuates that there is something improper about Mr. Kunin’s testimony being offered

    on reply. See D.I. 291 at 47. Not so: a reply opinion, like Mr. Kunin’s, that “contradict[s] or

    rebut[s] evidence on the same subject matter identified by the opposing party’s expert report” is

    proper. Cirba v. VMware, 2023 WL 6799267 at *5 (D. Del. Mar. 30, 2023).

           Third, Sight contends Mr. Kunin’s opinions are “misleading” because they purportedly

    conflict with the PTAB’s Advanced Bionics decision regarding when a reference was “previously

    presented” to the patent office for the purposes of 35 U.S.C. § 325(d) (“325(d)”). See D.I. 291 at

    47-48 (citing Advanced Bionics v. Med-El Elektromedizinische Gerӓte, IPR2019-01469, Paper 6,

    8 (PTAB Feb. 13, 2020) (precedential)). Mr. Kunin, however, applied Advanced Bionics: “I will

    only discuss Part 1 of the Advanced Bionics framework in this report, as Dr. Downs only

    addressed whether the prior art was considered by the examiner.” 17 D.I. 295-31 ¶¶49-52. Indeed,

    Sight’s argument illustrates why Mr. Kunin’s opinions are proper and necessary: Dr. Downs, and

    Sight in its Motion, conflate the PTAB’s standard for “previously presented” under 325(d) with

    an examiner substantively considering a reference. D.I. 291 at 48. They are not the same. The


    17
       Sight criticizes Mr. Kunin for identifying the split among PTAB panels regarding what is
    sufficient consideration of a reference to qualify as “previously presented” for purposes of
    325(d). D.I. 291 at 48. This criticism irrelevant—Mr. Kunin does not rely on this split for his
    opinions—and Mr. Kunin is correct about the split. See Quasar Science LLC v. Colt Int’l
    Clothing, Inc., IPR2023-00611, Paper 10, 14 (PTAB Oct. 10, 2023) (discussing the distinction
    between “previously presented” and “substantively addressed” in context of 325(d) analysis).




                                                    48
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 59 of 63 PageID #: 24286




    PTAB may consider a reference “previously presented” for the purposes of 325(d) with as little

    as a mention in a search query or IDS. D.I. 295-31 ¶¶54-58. Mr. Kunin explained how this

    differs from an examiner substantively considering a reference by applying it against the claims

    of a patent, which “is not a prerequisite to a finding that such reference was already presented to

    the Office under § 325(d).” Id. ¶58; see also id. ¶61 (describing difference in context of PTAB’s

    proposed rule change), ¶¶79-81. Sight (through Dr. Downs’s opinion) asserts that the PTO

    substantively considered the references at issue (when Sight has no evidence the PTO did that) to

    improperly suggest Alcon’s burden to prove invalidity is higher. Sciele Pharma v. Lupin, 684

    F.3d 1253, 1260 (Fed. Cir. 2012) (“Whether a reference was previously considered by the PTO,

    the burden of proof is the same: clear and convincing evidence of invalidity.”). Mr. Kunin’s

    opinions will help the jury understand the nuances of the PTAB rules that Sight has muddled.

           Fourth, Sight is wrong that Mr. Kunin’s opinions regarding the PTAB’s proposed rule

    change are “speculat[ive]” and thus “no help to the factfinder.” See D.I. 291 at 49. On April 21,

    2023, the PTAB proposed a change to what would constitute “previously addressed” within the

    meaning of 325(d), such that the application would be limited to where “the [PTO] evaluated the

    art or arguments and articulated its consideration of the art or arguments in the record.” See

    D.I. 295-31, Kunin Rep. at ¶61. The proposed rule change notes that “mere citation” on an IDS

    or in search results would not be sufficient. Id. By contrast, the PTAB’s current application of

    325(d) requires only “mere citations” for the reference to count as “previously presented.” Id. at

    ¶¶54-58. Mr. Kunin’s opinions rebut Dr. Downs’s improper insinuation that the examiner

    substantively “considered” the references at issue by illustrating what the PTAB meant when it

    determined the references were “previously presented” under 325(d), and how the PTAB

    considers that to be different from substantive consideration. Ex. 20, Kunin Tr. 46:13-48:9.




                                                    49
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 60 of 63 PageID #: 24287




           Fifth, Mr. Kunin unequivocally rejected Sight’s contention that he “suggests that the

    PTO failed to do its job in this case and seeks to undermine the presumption of validity.” Id. at

    96:11-17 (“I didn’t say anything like that in my report.”); D.I. 291 at 50. Sight’s reliance on

    Shire Viropharma is therefore inapposite as Mr. Kunin is not offering any opinions

    “impermissibly attacking [the] presumption of validity.” D.I. 291 at 50. Mr. Kunin

    acknowledged “[t]he burden of establishing invalidity remains on the party asserting invalidity”

    regardless of a reference’s consideration by the PTO. See D.I. 295-31 ¶27. Mr. Kunin’s

    statement is an accurate recitation of the law, Sciele Pharma, 684 F.3d at 1260, and experts may

    “set forth the legal definitions [they] appl[y] in reaching [their] conclusions.” Voter Verified v.

    Premier Election Sols., 2011 WL 87306 at *4 (M.D. Fla. Jan. 11, 2011), aff’d, 698 F.3d 1374,

    1384, n. 6 (Fed. Cir. 2012).

           In short, Mr. Kunin’s directly responsive opinions on PTO practice and procedure

    provide necessary, helpful testimony for the jury should Dr. Downs be permitted to provide PTO

    opinions at trial. Sight’s disagreement with Mr. Kunin’s opinions is grounds for cross-

    examination at trial, not exclusion. United States v. Mitchell, 365 F.3d 215, 244 (3d Cir. 2004)

    (expert testimony “should be tested by the adversary process” when it rests on good grounds).

    X.     CONCLUSION

           For the above reasons, Sight’s Motions should be denied.




                                                    50
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 61 of 63 PageID #: 24288




                                          /s/ Andrew E. Russell
                                          John W. Shaw (No. 3362)
    OF COUNSEL:                           Karen E. Keller (No. 4489)
    Gregg LoCascio                        Andrew E. Russell (No. 5382)
    Sean McEldowney                       Nathan R. Hoeschen (No. 6232)
    Justin Bova                           SHAW KELLER LLP
    Steven Dirks                          I.M. Pei Building
    Socrates L. Boutsikaris               1105 North Market Street, 12th Floor
    KIRKLAND & ELLIS LLP                  Wilmington, DE 19801
    1301 Pennsylvania Avenue, N.W.        (302) 298-0700
    Washington, DC 20004                  jshaw@shawkeller.com
    (202) 389-5000                        kkeller@shawkeller.com
                                          arussell@shawkeller.com
    Jeanne M. Heffernan                   nhoeschen@shawkeller.com
    Kat Li                                Attorneys for Defendants
    Ryan J. Melde
    KIRKLAND & ELLIS LLP
    401 Congress Avenue
    Austin, TX 78701
    (512) 678-9100

    Ryan Kane
    Nathaniel DeLucia
    Emily Sheffield
    KIRKLAND & ELLIS LLP
    601 Lexington Avenue
    New York, NY 10022
    (212) 446-4800

    Brian A. Verbus
    Jacob Rambeau
    KIRKLAND & ELLIS LLP
    300 N. LaSalle
    Chicago, IL 60654
    (312) 862-2000

    Noah Frank
    KIRKLAND & ELLIS LLP
    200 Clarendon Street
    Boston, MA 02116
    (617) 385-7500

    Dated: November 2, 2023
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 62 of 63 PageID #: 24289




                                     CERTIFICATE OF SERVICE

           I, Andrew E. Russell, hereby certify that on November 2, 2023, this document was served

    on zsightsciencesivantis@cooley.com and the persons listed below in the manner indicated:

      BY EMAIL
      Melanie K. Sharp                                 Michelle S. Rhyu, J.D., Ph.D.
      James L. Higgins                                 Lauren Strosnick
      Taylor E. Hallowell                              Alissa Wood
      YOUNG, CONAWAY, STARGATT & TAYLOR LLP            Angela R. Madrigal
      Rodney Square                                    Juan Pablo Gonzalez
      1000 North King Street                           Jeffrey Karr
      Wilmington, DE 19801                             COOLEY LLP
      (302) 571-6600                                   3175 Hanover Street
      msharp@ycst.com                                  Palo Alto, CA 94305
      jhiggins@ycst.com                                (650) 843-5000
      thallowell@ycst.com                              rhyums@cooley.com
                                                       lstrosnick@cooley.com
      Orion Armon                                      amwood@cooley.com
      COOLEY LLP                                       jgonzalez@cooley.com
      1144 15th Street, Suite 2300                     amadrigal@cooley.com
      Denver, CO 80202                                 jkarr@cooley.com
      (720) 566-4000
      oarmon@cooley.com                                Bonnie Fletcher Price
                                                       COOLEY LLP
      Dustin M. Knight                                 1299 Pennsylvania Avenue, NW
      Joseph Van Tassell                               Suite 700
      COOLEY LLP                                       Washington, DC 20004
      11951 Freedom Drive, 14th Floor                  (202) 776-2099
      Reston, VA 20190                                 bfletcherprice@cooley.com
      (703) 456-8024
      dknight@cooley.com
      jvantassell@cooley.com
Case 1:21-cv-01317-GBW-SRF Document 344 Filed 11/14/23 Page 63 of 63 PageID #: 24290




                                           /s/ Andrew E. Russell
                                           John W. Shaw (No. 3362)
                                           Karen E. Keller (No. 4489)
                                           Andrew E. Russell (No. 5382)
                                           Nathan R. Hoeschen (No. 6232)
                                           SHAW KELLER LLP
                                           I.M. Pei Building
                                           1105 North Market Street, 12th Floor
                                           Wilmington, DE 19801
                                           (302) 298-0700a
                                           jshaw@shawkeller.com
                                           kkeller@shawkeller.com
                                           arussell@shawkeller.com
                                           nhoeschen@shawkeller.com
                                           Attorneys for Defendants
